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  5
      Attorneys for Chapter 11 Debtor
  6 and Debtor in Possession
  7
  8
                                UNITED STATES BANKRUPTCY COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA
                                      LOS ANGELES DIVISION
 10
                                                          )   Case No.: 2:22-bk-10266-BB
 11                                                       )
 12 In re:                                                )   Chapter 11 Case
                                                          )   Subchapter V
 13 ESCADA AMERICA, LLC,                                  )
                                                          )   DEBTOR’S     CHAPTER     11,
 14               Debtor and Debtor in Possession.        )   SUBCHAPTER    V   PLAN   OF
                                                          )   REORGANIZATION, DATED MAY 2,
 15                                                       )   2022

 16                                                       )
                                                          )   Chapter 11 Status Conference Hearing: 1
 17                                                       )   Date: May 11, 2022
                                                          )   Time: 10:00 a.m.
 18                                                       )   Place: Courtroom 1539
                                                          )          255 East Temple Street
 19                                                       )          Los Angeles, CA 90012
 20                                                       )
                                                          )   Hearing to be held in-person and by
 21                                                       )   videoconference
                                                          )   Government Zoom, see Court’s
 22                                                       )   website under “Telephonic Instructions” for
                                                          )   more details:
 23                                                       )   https://www.cacb.uscourts.gov/judges/honor
                                                          )   able-sheri-bluebond
 24
 25
 26
 27
 28
      1   This hearing is only a status conference, not a hearing on plan confirmation.


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  1                                     I.      INTRODUCTION

  2          Escada America, LLC, a Delaware limited liability company (the “Debtor”), is the
  3 debtor and debtor in possession in the above-captioned chapter 11, subchapter V, bankruptcy
  4
      case (the “Bankruptcy Case”) bearing case number 2:22-bk-10266-BB. The Debtor filed a
  5
      voluntary petition under chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and
  6
      elected subchapter V on January 18, 2022 (the “Petition Date”). The Debtor is operating its
  7
  8 business, managing its affairs, and administering its estate as a debtor in possession pursuant to
  9 sections 1182(2) and 1184 of the Bankruptcy Code. The United States Trustee (the “UST”)
 10 appointed Gregory K. Jones, Esq. as the subchapter V trustee (the “Trustee”) pursuant to 11
 11
      U.S.C. § 1183(a).
 12
             Chapter 11 subchapter V allows the Debtor (and only the Debtor) to propose a plan.
 13
      This Plan is a reorganization plan proposed by the Debtor. This document is the Plan. It
 14
 15 includes (i) a brief history of the business operations of the Debtor; (ii) a liquidation analysis;
 16 and (iii) projections with respect to the ability of the Debtor to make payments under the Plan.
 17 This information is provided to help you understand the Plan and to decide whether to vote to
 18 accept or reject the Plan or otherwise file objections.
 19
             The effective date of the Plan (the “Effective Date”) will be the first business day of the
 20
      first month which is at least fifteen days following the date of entry of the Court order
 21
      confirming the Plan (the “Plan Confirmation Order”) and the satisfaction or waiver by the
 22
 23 Debtor of all of the following conditions to the effectiveness of the Plan: (a) there shall not be
 24 any stay in effect with respect to the Plan Confirmation Order; (b) the Plan Confirmation Order
 25 shall not be subject to any appeal or rehearing; and (c) the Plan and all documents, instruments
 26 and agreements to be executed in connection with the Plan shall have been executed and
 27
 28



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  1 delivered by all parties to such documents, instruments and agreements. The Debtor, following
  2 the Effective Date, shall be referred to as the “Reorganized Debtor.”
  3                                II.    STATUTORY PLAN DISCLOSURES
  4
               Bankruptcy Code Section 1190(1) requires that a subchapter V plan include: (i) a brief
  5
      history of the business operations of the Debtor; (ii) a liquidation analysis; and (iii) projections
  6
      with respect to the ability of the Debtor to make payments under the Plan. 11 U.S.C. § 1190(1).
  7
               A. Brief History of the Business Operations of the Debtor
  8
               1.     The Debtor was formed as a Delaware limited liability company in 2009.
  9
               2.     The Debtor is a national specialty retailer selling high-end, ready-to-wear
 10
      women’s apparel with its main office in Beverly Hills, California, and, as of the Petition Date,
 11
      had ten (10) retail stores across seven (7) states in the United States, an office New York City,
 12
      New York, and over 50 fulltime employees. The Debtor’s retail business is generally known to
 13
      the public and branded as “Escada.”          The Debtor uses the “Escada” brand via a license
 14
      agreement and does not own any intellectual property rights in connection with the “Escada”
 15
      brand.
 16
               3.     For several decades, Escada had been a global retail brand for high-fashion, high-
 17
      end, ready-to-wear apparel for women, with an emphasis on high-fashion evening wear.
 18
               4.     On a global scale, Escada has various retail stores and subsidiaries in several
 19
      countries in Europe, including but not limited to Spain, England and Germany. Escada also has
 20
      retail stores in North America, including the Debtor, which operates Escada’s brick-and-mortar
 21
      retail business only in the United States.
 22
               5.     By 2019, the Escada business on a global scale was in deep distress and could not
 23
      continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent
 24
      company, was acquired by new ownership (which is now the current ownership and
 25
      management).
 26
               6.     At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in 22
 27
      countries, all of which were financially distressed.
 28



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  1          7.     In December 2019, the Debtor devised and began implementation of a plan to

  2 turn around the United States Escada retail business. Debtor believed that the business could be
  3 operated at a profit if fundamental business-model changes were implemented, such as
  4 overhauling the Debtor’s technological suite and reducing speed to market by shifting supply
  5 chains from Asia to Europe. Debtor’s turnaround plan was also contingent upon Debtor’s
  6 ability to sell product at Debtor’s physical locations because ecommerce sales were minimal.
  7          8.     However, what was not – and could not be – known at the time of the acquisition

  8 in November 2019, was that an unprecedented, global, catastrophic, and life-changing event
  9 with severe economic consequences was on the immediate horizon – the Covid-19 pandemic.
 10          9.     In December 2019, just one month after the acquisition and just as the Debtor’s

 11 transformation plan was being put into effect, the novel corona virus, known to us now as
 12 Covid-19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the
 13 world.
 14          10.    From December 2019 through February 2020, the Debtor prepared to implement

 15 a number of business-model and operational changes with the goal of making the United States
 16 Escada retail business profitable and correct the mistakes of its prior management and prior
 17 owners.
 18          11.    However, in March 2020, the world drastically changed, and set the Debtor on

 19 course for this current bankruptcy filing.
 20          12.    On or about March 15, 2020, the City of Los Angeles declared a state of

 21 emergency with shelter in place orders. In the following days, many business and financial
 22 centers across the United States came to a near total standstill as the nation was gripped by the
 23 Covid-19 crisis.
 24          13.    Between March 19, 2020, and April 1, 2020, thirty-eight states issued various

 25 shelter-at-home orders due to the Covid-19 pandemic.
 26          14.    In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

 27 eight (8) States were shuttered due to lockdown restrictions.
 28



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  1            15.   Due to rising concerns about Covid-19 in February 2020 before the lockdowns,

  2 the U.S. stock market had plummeted, with the Dow Jones Industrial Average dropping from a
  3 high of nearly 30,000 to near 20,000 points, having a significant impact on general consumer
  4 behavior and sales in the luxury retail fashion industry.
  5            16.   In late March 2020, the United States federal government responded with historic

  6 economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to
  7 the economy, which may have bolstered the stock market’s recovery, but such economic
  8 stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from
  9 customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for
 10 any of these stimulus payments and was left with no support during these unprecedented times.
 11 In addition, as long as the pandemic lockdowns continued and stores remained closed, or
 12 shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-
 13 19 recession for retail businesses would continue.
 14            17.   From March 2020 to December 2021, the Debtor reduced its overhead expenses

 15 by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for
 16 rent relief at all store locations.
 17            18.   The 21 months leading up to the Petition Date have been a marked state of

 18 tremendous uncertainty for the world’s health and economic affairs brought on by an
 19 unprecedented pandemic, followed by an unprecedented recession, then unprecedented trillions
 20 of dollars of government aid, none of which has prevented the ongoing uncertainty posed by
 21 Covid-19 variants and the attendant on-again-off-again lockdowns across the nation and around
 22 the world, all of which made business up through the Petition Date very difficult.
 23            19.   The Debtor was able to negotiate many workouts with its various commercial

 24 landlords during 2020 and 2021, but other issues could not be resolved, including, but not
 25 limited to, some landlord negotiations that did not go well. It is because of the consequences of
 26 the Covid-19 pandemic that Debtor has been forced to file bankruptcy to restructure its business
 27 affairs.
 28



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  1          20.     The Debtor was able to reach deals with landlords for three (3) of the then-fifteen

  2 (15) store locations, but the Debtor could not survive ongoing litigation with these landlords and
  3 the attendant litigation costs and potential liability for breach of those leases.
  4          21.     Accordingly, the Debtor determined in its reasonable business judgment that it

  5 was in the best interest of its estate to file this current bankruptcy case to preserve the going-
  6 concern value of its business and save the jobs of its employees.
  7          22.     Within the first few days after the Petition Date, pursuant to a court-approved

  8 order, the Debtor rejected five unprofitable store leases, and, consequently, the Debtor is
  9 currently operating in five store locations: (i) Palm Beach, Florida, (ii) Scottsdale, Arizona, (iii)
 10 Beverly Hills, California, (iv) Costa Mesa, California, and (v) Chicago, Illinois. The Beverly
 11 Hills, Costa Mesa, and Chicago leases are in the name of a non-debtor affiliate, but all net
 12 profits are those stores are included in the Plan’s income projections.
 13          23.     Between the Petition Date and date of filing this Plan, the Debtor engaged in

 14 substantial confidential settlement discussions, through counsel, with major unsecured non-
 15 insider creditors and the Subchapter V Trustee, to develop this proposed Plan.
 16          24.     The Debtor has proposed this subchapter V Plan in good faith to reorganize its

 17 financial affairs, repay its creditors, and avoid a senseless and unnecessary liquidation.
 18          B. Liquidation Analysis

 19          One confirmation requirement is the “Best Interest Test,” which requires a liquidation
 20 analysis. Under the Best Interest Test, if a claimant or interest holder is in an impaired class
 21 and that claimant or interest holder does not vote to accept the Plan, then that claimant or
 22 interest holder must receive or retain under the Plan property of a value not less than the
 23 amount that such holder would receive or retain if the Debtor were liquidated under chapter 7
 24 of the Bankruptcy Code.
 25          In a chapter 7 case, the debtor's assets are usually sold by a chapter 7 trustee. Secured
 26 creditors are paid first from the sales proceeds of properties on which the secured creditor has a
 27 lien. Administrative claims are paid next. Next, unsecured creditors are paid from any
 28



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  1 remaining sales proceeds, according to their rights to priority. Unsecured creditors with the
  2 same priority share in proportion to the amount of their allowed claim in relationship to the
  3 amount of total allowed unsecured claims. Finally, interest holders receive the balance that
  4 remains after all creditors are paid, if any.
  5          For the Court to be able to confirm the Plan, the Court must find that all creditors and
  6 interest holders who do not accept the Plan will receive at least as much under the Plan as such
  7
      holders would receive under a chapter 7 liquidation of the Debtor. The Debtor maintains that
  8
      this requirement is clearly met.
  9
             The impaired classes under the Plan consist of classes 1, 2, 3, 4, and 5. The Debtor
 10
      must therefore satisfy the “best interest of creditors test” with respect to members of classes 1,
 11
      2,3, 4, and 5 that do not vote to accept the Plan.
 12
             Through Plan proposal discussions, the Debtor is informed that all the creditors in
 13
      Classes 1, 2, 3, and 4 support the Plan and will vote to accept the Plan. Accordingly, this Best
 14
      Interest Test focuses on the creditors in Class 5.
 15
             Attached as Exhibit 1 hereto, in balance sheet format, is a demonstration of the
 16
 17 liquidation analysis in a hypothetical chapter 7 case as of August 1, 2022 (the “Expected Plan
 18 Confirmation Date”), if the case were to be converted to chapter 7 instead of the chapter 11
 19 plan being confirmed. As shown in Exhibit 1, all creditors in Class 5 will receive as much or
 20 more under the Plan as they would receive under a Chapter 7 liquidation of the Debtor. See,
 21 Exhibit 1. In a hypothetical chapter 7 liquidation, the Debtor projects that Class 5 would
 22 receive only approximately 5.10% recovery, which recovery includes numerous assumptions in
 23 favor of the creditors, including: (1) a full 100% recovery on $1,400,000 collateral for a
 24 Western Surety Bond, even though a similar bond with Lexon Surety will have an actual
 25 recovery rate of less than 50%; (2) a 54.5% recovery (i.e., 45.5% discount) rate on prepetition
 26 avoidance actions against insiders, even though those insiders have informed the Debtor that
 27
      they would vigorously defend any such lawsuits; (3) a 50% discount on the secured claim held
 28



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  1 by insider Mega International LLC, even though Mega has informed the Debtor that it would
  2 vigorously defend its claim and lien in a lawsuit; and (4) a 62.5% discount on the post-petition
  3 administrative expense claims held by Mega International LLC and Escada Sourcing and
  4 Production LLC, even though those insiders have informed the Debtor that they would
  5 vigorously defend their administrative claims in litigation. The Debtor does not believe the
  6 foregoing results would be achievable by a Chapter 7 Trustee if the case were converted, but
  7
      the Debtor provides this hypothetical scenario to show that even with an optimistic, creditor-
  8
      and-trustee-friendly analysis, the Plan still pays creditors far more than a liquidation. Taking
  9
      the analysis one step further, even if all of the insider prepetition debt owing to Escada
 10
      Sourcing and Production LLC were subordinated to Class 5 non-insider general unsecured debt
 11
      (the Debtor is informed that ESP would vigorously defend the legitimacy of its claim to share
 12
      in a recovery in the event of a chapter 7 liquidation, and so the Debtor does not believe this
 13
      result is possible or easily achieved), the Class 5 hypothetical liquidation recovery would be
 14
      only 10.35%, which is still far less than the Plan proposes to pay creditors at 15% for Treatment
 15
      “A” or 11.36% in Treatment “B” under the Plan. Clearly, the Plan provides at least as much –
 16
 17 and more – to creditors, and therefore meets the requirements of the Best Interest Test.
 18          C. Plan Payment Projections

 19          The Debtor’s five-year future plan projections are attached as Exhibit 2 hereto.

 20          Evidentiary support for plan projections can be found in the Debtor’s monthly operating

 21 reports filed on the Court’s docket at docket entry numbers 88, 114, and 143. While the Plan
 22 projections show that creditors are receiving at least three years’ worth of net projected
 23 disposable income, as might be required by 11 U.S.C. § 1191(c)(2)(A) if the Plan were to be
 24 confirmed under § 1191(b), parties should note and understand that the basis of payment under
 25 a plan confirmed under § 1191(a) is not the Debtor’s future income projections. Rather, if
 26 creditors vote as a whole to accept the Plan, then Class 5 receives “Treatment A,” which is
 27
      more than the Debtor’s future net projected income and paid more quickly (1) by initial
 28



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  1 distribution of cash on hand and Exit Financing, plus (2) the expected recovery on the Western
  2 Surety Bond.
  3                III.    TREATMENT OF CREDITORS’ CLAIMS UNDER THE PLAN
  4          A. What Creditors Will Receive Under the Plan
  5          As required by the Bankruptcy Code, the Plan classifies certain claims and interests in
  6 various “classes” according to their right to priority and leaves other types of claims
  7 unclassified. Also, as required by the Bankruptcy Code, the Plan states whether each class of
  8 claims or interests is impaired or unimpaired and describes the treatment each class will
  9 receive.
 10          1. Unclassified Claims
 11          Certain types of claims are not placed into voting classes; instead they are unclassified.
 12 The Bankruptcy Code predetermines what type of treatment these claims will receive. They are
 13 not considered impaired and they do not vote on the Plan because they are automatically
 14 entitled to specific treatment provided for them in the Bankruptcy Code. As such, the Debtor
 15 has not placed the following claims in a class.
 16                       a. Administrative Expenses
 17          Administrative expenses are claims for costs or expenses of administering the Debtor’s
 18 Bankruptcy Case that are allowed under Bankruptcy Code Section 507(a)(2). The Bankruptcy
 19 Code requires that all administrative claims be paid on the Plan Effective Date unless a
 20 particular claimant agrees to a different treatment.
 21          The following chart lists all of the Debtor’s § 507(a)(2) estate professional
 22 administrative claims and their treatment under the Plan.
 23
 24
             Name                          Amount Owed                   Treatment
 25          Clerk's Office Fees           $0                            Paid in full on the
                                                                         Effective Date
 26          Levene, Neale, Bender,        $125,000 (est.)               Paid in full out of the
             Yoo & Golubchik L.L.P.                                      Debtor's cash on hand on
 27          ("LNBYG"), bankruptcy                                       the later of the Effective
 28          counsel to the Debtor                                       Date and the date the
                                                                         Court enters an order


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  1                                                                       allowing such fees and
                                                                          expenses
  2          Subchapter V Trustee           $50,000 (est.)                Paid in full out of the
                                                                          Debtor’s cash on hand on
  3
                                                                          the later of the Effective
  4                                                                       Date and the date the
                                                                          Court enters an order
  5                                                                       allowing such fees and
                                                                          expenses
  6                                         $25,000 (est.)                Paid in full out of the
             Accountant
  7          Holthouse, Carlin & Van                                      Debtor's cash on hand on
             Trigt LLP                                                    the later of the Effective
  8                                                                       Date and the date the
                                                                          Court enters an order
  9                                                                       allowing such fees and
                                                                          expenses
 10
             TOTAL                          $200,000 (est.)               Paid in the manner
 11                                                                       described above

 12
 13          The Court must approve all professional fees and expenses listed in this chart before

 14 they may be paid. For all professional fees and expenses (except fees owing to the Clerk of the
 15 Bankruptcy Court), the professional in question must file and serve a properly noticed fee
 16 application and the Court must rule on the application. Only the amount of fees and expenses
 17 allowed by the Bankruptcy Court will be required to be paid under the Plan. The administrative
 18 claim amounts set forth above simply represent the Debtor’s best estimates as to the amount of
 19 allowed administrative claims in the Bankruptcy Case. The actual administrative claims may
 20 be higher or lower. Much of whether the actual administrative claims described above for
 21 professionals will be dependent upon whether the Debtor is required to engage in any
 22
      substantial litigation regarding the confirmation of the Plan and/or objecting to claims. To the
 23
      extent the Debtor is required to engage in any such substantial litigation, the Debtor is likely to
 24
      incur professional fees and expenses in excess (and possibly substantially in excess) of the
 25
      figures set forth above. By voting to accept the Plan, creditors are not acknowledging the
 26
      validity of, or consenting to the amount of, any of these administrative claims, and creditors are
 27
      not waiving any of their rights to object to the allowance of any of these administrative claims.
 28



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  1 By including the figures described above, the Debtor is not acknowledging the validity of, or
  2 consenting to the amount of, any of these administrative claims, and the Debtor is not waiving
  3 any of its rights to object to the allowance of any of these administrative claims. Similarly,
  4 professionals who have been employed in the Bankruptcy Case are not being deemed to have
  5 agreed that the figures contained herein represent any ceiling on the amount of fees and
  6 expenses that they have incurred or are entitled to seek to be paid pursuant to Bankruptcy Court
  7
      order as such fees and expenses are just estimates provided at the time of the preparation of the
  8
      Disclosure Statement.
  9
             To the extent administrative claims are allowed prior to the Effective Date, such
 10
      allowed administrative claims may be paid by the Debtor out of the Debtor’s funds provided the
 11
      Debtor has sufficient funds to pay them. To the extent administrative claims are allowed after
 12
      the Effective Date, such allowed administrative claims will be paid by the Reorganized Debtor.
 13
             The following chart lists all of the Debtor’s § 507(a)(2) administrative claims (other
 14
      than estate-professional-administrative-expense claims listed above) accruing and unpaid in the
 15
      ordinary course of business and their treatment under the Plan.
 16
             Name                           Amount Owed                  Treatment
 17
             Mega                           $100,000 (est.)              To be added to the Class
 18          (for Debtor’s employees’                                    2 Claim held by Mega
             health, dental, and vision                                  (If Class 5 votes for
 19          benefits plans accrued and                                  Treatment A)
             unpaid during the
 20          pendency of the                                             To be paid in July 2023
             bankruptcy case)                                            (If Class 5 votes for
 21
                                                                         Treatment B)
 22
             ESP                            $300,000 (est.)              To be added to the Class
 23          (for consignment fees                                       3 Claim held by ESP
             accrued and unpaid during
 24          the pendency of the
 25          bankruptcy case)
             TOTAL                          $400,000 (est.)
 26
 27                     b. Priority Tax Claims
 28



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  1          Prepetition priority tax claims include certain unsecured income, employment and other

  2 taxes described by Section 507(a)(8) of the Bankruptcy Code. Section 1129(a)(9)(C) of the
  3 Bankruptcy Code requires that each holder of such a Section 507(a)(8) priority tax claim
  4 receive regular installment payments of a total value, as of the Plan Effective Date, equal to the
  5 allowed amount of such allowed tax claims, over a period ending not later than five years after
  6 the Petition Date, and not less favorable than other creditors paid under the Plan. Interest rates
  7
      on these claims are conclusively determined by applicable non-bankruptcy law as of the month
  8
      that the Plan is confirmed. 11 U.S.C. § 511.
  9
             Under the Plan, all allowed Section 507(a)(8) priority tax claims under $100,000 will be
 10
      paid within 30 days of the Plan Effective Date. The claim of NYC Department of Finance will
 11
      be paid in equal quarterly installment payments over the first three years of the Plan. The
 12
      Debtor may be these claims early with no prepayment penalty. Interest on the priority tax
 13
      claims will accrue and be paid at the applicable non-bankruptcy law statutory rate.
 14
              A failure by the Debtor to make a payment on the priority tax claims pursuant to the
 15
      terms of the Plan will be an event of default. If the event of default is not cured within thirty
 16
 17 (30) days after service of written notice of default from the taxing authority, then the taxing
 18 authority may enforce its applicable remedies exclusively by application to the Bankruptcy
 19 Court and with jurisdiction maintained exclusively by the Bankruptcy Court. The chart below
 20 indicates all priority tax claims which were either scheduled by the Debtor or asserted by the
 21 taxing agencies in timely filed proofs of claim. The inclusion of the claims in the chart below is
 22 intended simply to reflect the claims that have been scheduled and/or asserted in timely filed
 23 proofs of claim as priority tax claims, and is not intended to be a concession by the Debtor
 24 regarding the validity of the amount of any such claims or the classification of such claims as
 25 priority tax claims under Section 507(a)(8) of the Bankruptcy Code.
 26              Claimant              Proof of Claim No.        Claim Amount
 27   County of Los Angeles                        9                     $ 8,537.47
      Cal. Franchise Tax Board                    17                        $800.00
 28   IRS                                          2                    $79,500.00



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  1    Cal. Empl. Dev. Dep’t                      N/A                             $0
       NYC Dept. of Finance                       N/A                    $349,209.25
  2    TOTAL                                                             $438,046.72
  3
  4              2. Classified Claims and Interests

  5                  a. Non-Tax Pre-Petition Priority Claims

  6           Certain prepetition priority claims that are referred to in Bankruptcy Code Sections

  7 507(a)(4), (5), (6), and (7) are required to be placed in classes. These types of claims are
  8 entitled to priority treatment under the Bankruptcy Code as each holder of such an allowed
  9 claim must receive cash on the Effective Date equal to the allowed amount of such claim.
 10 However, the holder of such an unsecured priority claim may agree to accept deferred cash
 11 payments of a value, as of the Effective Date, equal to the allowed amount of such claim. The
 12 Debtor’s schedules reflect no creditors as holding priority unsecured claims. No creditors filed
 13 proofs of claim asserting non-tax priority unsecured claims. The below chart summarizes the
 14 priority non-tax claims and whether the Debtor is considering an objection at this time:
 15    Name                    Claim No.    Objection        Claim Amount
 16    None                       N/A         N/A                    $0.00

 17
                         CLASSIFIED CLAIMS IN CLASSES 1 THROUGH 5
 18
              The Plan creates liens on certain bond recoveries (each, a “Bond Lien” and, collectively,
 19
      the “Bond Liens”), which are integral to the treatment of Classes 1, 2, 3, 4, and 5 below.
 20
      Classes 1, 2, and 4 have prepetition liens against all or substantially all of the Debtor’s assets.
 21
      Class 3 is a creditor with a consignment arrangement, but, to the extent considered as a security
 22
      interest, would also have a lien. Class 5 is a general unsecured creditor class.
 23
              As of the Petition Date, the Debtor holds prepetition bonds with total value of
 24
      approximately $2.15 million, the collateral for which is cash in a money-market account to
 25
      support letters of credit (the “Bond Collateral”) with JP Morgan Chase Bank (“JPMC”). There
 26
      are $408,065.65 in offsetting liabilities against the Bond Collateral, resulting in approximately
 27
 28



                                                        13
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  1 $1,789,014.092 in expected bond proceeds (the “Net Bond Proceeds”). The Net Bond Proceeds
  2 stems from two separate bonds: (i) a $700,000 bond, secured by $1,400,000 in Bond Collateral
  3 (the “Western Surety Bond”) and (ii) a $400,000 and a $350,000 bond, secured by $7500,000 in
  4 Bond Collateral, with $408,065.65 in offsetting liabilities (the “Lexon Bond”); and (iii) a 2%
  5 cushion in the JPMC account in the amount of approximately $47,079.74. As the bonds are
  6 cancelled, mature, and/or terminate, the Net Bond Proceeds shall be placed into a trust account
  7 (the “Bond Account”) held by Debtor’s counsel, LNBYG,3 to be the collateral for: (i) the Class
  8 5 claims with a first position Bond Lien (the “Class 5 Bond Lien”); and (ii) the Class 1 claim,
  9 with a second position Bond Lien (the “Class 1 Bond Lien”). Every dollar of Net Bond
 10 Proceeds recovered shall be paid to Class 5 allowed claim holders, pari passu, within 30 days of
 11 receipt of the Bond Collateral into the Bond Account, until Class 5 has received its 15%
 12 recovery under Treatment A. The Debtor shall notify Classes 1, 2, 3, 4, and 5 of the receipt of
 13 any Net Bond Proceeds within two (2) business days of such proceeds being released by JPMC
 14 to the Bond Account. At the Debtor’s and/or Reorganized Debtor’s discretion, notice may be
 15 given by filing a notice on the bankruptcy court’s docket or by email and/or mail to the 20
 16 largest unsecured creditors in the case. ESP will act as a secured lender exit financier (the “Exit
 17 Financier”) and, along with Classes 1, 2, 3, and 4, through the Plan, consent to Class 5 having a
 18 lien for the Class 5 Bond Lien on the Bond Collateral, Bond Account, and Net Bond Proceeds
 19 senior to the prepetition liens held by Classes 1, 2, 3, and 4, and the exit financing lien held by
 20 the Exit Financier.
 21                  b. Class 1 – Allowed Secured Claim of Eden Roc International, LLC

 22                       (“Eden Roc”)

 23           The following chart identifies the Plan’s treatment of Class 1 comprised of the allowed

 24 secured claims of Eden Roc International, LLC (“Eden Roc”):
 25
 26   2This figure includes $47,079.74 for a 2% cushion held by JPM Chase in the cash collateral
      deposit account that backs the bonds.
 27
      3   Alternatively, the Debtor and/or Reorganized Debtor may set up the Bond Account as an
 28 account subject to a deposit-account-control-agreement with JPMC with a lien in favor of Class
      5 to have the proceeds transfer over when they are released from the bond liabilities.


                                                       14
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  1       CLASS     DESCRIPTION              IMPAIRED   TREATMENT
          #                                   VOTING
  2         1
  3                 Claimant:                Impaired
                    Eden Roc                            Class 1 shall have an allowed
  4                                          Entitled   secured claim in the amount of
                    Type of Claim:           to vote.   $579,025.32     principal, plus
  5                 Allowed                             accrued fees, and costs.
                    secured claim
  6                                                     Senior secured lien on
  7                 Claim amount:                       all of the Debtor’s assets, except
                    $579,025.32, plus                   with respect to the Bond
  8                 accrued      interest,              Collateral, Bond Account, and
                    fees, and costs                     Net Bond Proceeds.
  9
                    Collateral:                         With respect to the Bond
 10                 All assets of the                   Collateral and Bond Account,
 11                 Debtor                              Class 1 shall have a second
                                                        priority lien on the Net Bond
 12                                                     Proceeds.

 13                                                     The order confirming the Plan
                                                        shall affirm the validity of the
 14
                                                        claim and validity of the lien.
 15
                                                        Interest rate: 6.0% per annum,
 16                                                     compounding
 17                                                     Loan maturity date extended to
                                                        12/31/2027.
 18
 19                                                     Payment
                                                        Treatment A:
 20                                                     If Class 5 votes to accept the plan
                                                        – Balloon payment of all
 21                                                     principal and accrued interest due
 22                                                     on 12/31/2025. Provided that all
                                                        payments to Class 5 have been
 23                                                     made, the Debtor shall have the
                                                        right to prepay all principal and
 24                                                     accrued interest due to Class 1
                                                        without penalty.
 25
 26                                                     Under Treatment A, Class 1 will
                                                        not receive any payments under
 27                                                     the Plan during the life of the
                                                        Plan on account of their Class 1
 28                                                     claims, until and unless Class 5



                                                 15
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  1                                                             has received all payments
                                                                payable thereunder.       Class 1
  2                                                             creditors will maintain their
                                                                claims and liens and interest will
  3                                                             continue to accrue but be unpaid
  4                                                             for the life of the Plan.

  5                                                             Treatment B:
                                                                If Class 5 votes to reject the plan
  6                                                             – Balloon payment of entire
                                                                claim of $579,025.32 within 30
  7
                                                                days of the Plan Effective Date.
  8
  9
                                                                Unless otherwise altered by the
 10                                                             Plan, other terms in the
                                                                prepetition loan and security
 11
                                                                documents remain in full force
 12                                                             and effect between the Debtor
                                                                and the Class 1 claimant.
 13
 14                c. Class 2 – Allowed Secured Claim of Mega International, LLC
 15         The following chart identifies the Plan’s treatment of Class 2 comprised of the allowed
 16 secured claim of Mega International, LLC (“Mega”), in the total amount of $1,506,953.00:
 17
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  1       CLASS     DESCRIPTION              IMPAIRED   TREATMENT
          #                                   VOTING
  2         2
  3                 Claimant:                Impaired   Class 2 shall have an allowed
                    Mega                                secured claim in the amount of
  4                                          Entitled   $1,656,953.00, principal, plus
                    Type of Claim:           to vote.   accrued unpaid fees and costs.
  5                 Allowed
                    secured claim
  6                                                     Second position junior secured
  7                 Prepetition     Claim               lien on all of the Debtor’s assets,
                    amount:                             except for the Bond Collateral,
  8                 $1,506,953.00, plus                 Bond Account, and Net Bond
                    accrued      interest,              Proceeds.
  9                 fees, and costs
                                                        The order confirming the Plan
 10                 Post-petition Claim                 shall affirm the validity of the
 11                 amount: $100,000                    claim and validity of the lien.
                    (estimated)
 12                                                     Interest rate: 7.0% per annum,
                    Total Claim amount:                 compounding
 13                 $1,656,953.00
                                                        Loan maturity date extended to
 14
                    Collateral:                         12/31/2027.
 15                 All assets of the
                    Debtor                              Payment
 16                                                     Treatment A:
                                                        If Class 5 votes to accept the plan
 17                                                     – Balloon payment of all
                                                        principal and accrued interest due
 18
                                                        on 12/31/2027.
 19
                                                        Under Treatment A, Class 2 will
 20                                                     not receive any payments under
                                                        the Plan during the life of the
 21                                                     Plan on account of their Class 2
 22                                                     claims until all payments to Class
                                                        5 have been made. Class 2
 23                                                     creditors will maintain their
                                                        claims and liens and interest will
 24                                                     continue to accrue but be unpaid
                                                        for the life of the Plan.
 25
 26                                                     Treatment B:
                                                        If Class 5 votes to reject the plan
 27                                                     – Balloon payment of the
                                                        administrative claim in the
 28                                                     amount      of      approximately



                                                 17
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  1                                                             $100,000 in July 2023, with the
                                                                balance of the balloon payment
  2                                                             of all principal and accrued
                                                                interested due on 12/31/2027.
  3
  4                                                             Under Treatment B, Class 2 will
                                                                receive payment for its post-
  5                                                             petition Claim amount within one
                                                                (1) year of the Effective Date,
  6                                                             but will not receive any further
                                                                payments under the Plan during
  7
                                                                the life of the Plan on account of
  8                                                             their Class 2 claims until all
                                                                payments to Class 5 have been
  9                                                             made. Class 2 creditors will
                                                                maintain their claims and liens
 10                                                             and interest will continue to
                                                                accrue but be unpaid for the life
 11
                                                                of the Plan.
 12
                                                                Unless otherwise altered by the
 13                                                             Plan, other terms in the
                                                                prepetition loan and security
 14                                                             documents remain in full force
 15                                                             and effect between the Debtor
                                                                and the Class 2 claimant.
 16
 17
 18
 19                d. Class 3 – Allowed Claim of Escada Sourcing and Production LLC
 20                   Related to Consignment
 21         The following chart identifies the Plan’s treatment of Class 3 comprised of the allowed
 22 claim of Escada Sourcing and Production, LLC (“ESP”):
 23
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  1       CLASS     DESCRIPTION              IMPAIRED        TREATMENT
          #                                   VOTING
  2         3
  3                 Claimant:                Impaired        Class 3 shall retain its rights as a
                    ESP                                      consignor, unaltered by the Plan.
  4                                          Entitled   to
                    Type of Claim:           Vote            Total allowed secured claim of
  5                 True Consignment;                        no less than $1,025,361.39, plus
                    additionally, claims                     accruing       claim       post-
  6                 as follows:                              confirmation.
  7
                    Pre-petition Claim:                      The order confirming the Plan
  8                 A          prepetition                   shall affirm the validity of the
                    secured claim in the                     consignment agreement between
  9                 amount of no less                        the Debtor and ESP and ratify the
                    than $675,361.39                         terms     of   the    settlement
 10                                                          agreement entered into by and
 11                 Post-petition Claim                      between ESP, on the one hand,
                    Amount: $300,000                         and the Debtor and its estate, on
 12                 (estimated)                              the other hand (the “Settlement
                                                             Agreement”).
 13                 Exit     Financing
                    Claim     Amount:                        Third position junior secured lien
 14
                    $150,000                                 on all of the Debtor’s assets,
 15                                                          except for the Bond Collateral,
                    Post-Confirmation                        Bond Account, and Net Bond
 16                 Claim:      Accruing                     Proceeds.
                    according           to
 17                 estimated        plan
                    projections.      See,
 18
                    Ex.2 to the Plan.
 19
                    Claim amount:
 20                 Not      less than
                    $1,025,361.39
 21
 22                 Collateral:
                    Not Applicable to
 23                 the extent that ESP
                    is a consignor with a
 24                 true consignment;
                    but to the extent
 25                 ESP is a creditor, all
 26                 inventory held by
                    Debtor and proceeds
 27                 thereof

 28



                                                 19
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  1
  2               e. Class 4 – Allowed Claim of Escada Sourcing and Production LLC

  3                   Related to Secured Debt

  4        The following chart identifies the Plan’s treatment of Class 4 comprised of the allowed

  5 claim of Escada Sourcing and Production, LLC (“ESP”):
  6
  7
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  1       CLASS     DESCRIPTION            IMPAIRED   TREATMENT
          #                                 VOTING
  2         4
  3                 Claimant:              Impaired   Class 4 shall have an allowed
                    ESP                               secured claim in the amount of
  4                                        Entitled   $19,044,356.07, principal, plus
                    Type of Claim:         to vote.   accrued unpaid fees and costs.
  5                 Allowed
                    secured claim                     Fourth position junior secured
  6                                                   lien on all of the Debtor’s assets,
  7                 Claim amount:                     except for the Bond Collateral,
                    $19,044,356.07,                   Bond Account, and Net Bond
  8                 plus         accrued              Proceeds.
                    interest, fees, and
  9                 costs
                                                      The order confirming the Plan
 10                 Collateral:                       shall affirm the validity of the
 11                 All assets of the                 claim and lien held by ESP and
                    Debtor                            ratify the terms of the Settlement
 12                                                   Agreement entered into by and
                                                      between ESP, on the one hand,
 13                                                   and the Debtor and its estate, on
                                                      the other hand.
 14
 15
                                                      Interest rate: 8.0% per annum,
 16                                                   compounding
 17                                                   Loan maturity date extended to
                                                      12/31/2027.
 18
 19                                                   Balloon payment of all principal
                                                      and accrued interest due on
 20                                                   12/31/2027.
 21                                                   Class 4 will not receive any
 22                                                   payments under the Plan during
                                                      the life of the Plan on account of
 23                                                   their Class 4 claims. Class 4
                                                      creditors will maintain their
 24                                                   claims and liens and interest will
                                                      continue to accrue but be unpaid
 25                                                   for the life of the Plan.
 26
                                                      Unless otherwise altered by the
 27                                                   Plan, other terms in the
                                                      prepetition loan and security
 28                                                   documents remain in full force



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  1                                                                and effect between the Debtor
                                                                   and the Class 4 claimant.
  2
  3
  4
  5
                    f. Classes of General Unsecured Claims
  6
             General unsecured claims are unsecured claims not entitled to priority under Bankruptcy
  7
      Code Section 507(a). The following chart identifies the Plan's treatment of the class containing
  8
      all of the Debtor’s non-priority general unsecured claims (see the Claims Chart for detailed
  9
      information about each general unsecured claim):
 10
 11
 12
 13
 14
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  1       CLASS     DESCRIPTION              IMPAIRED        TREATMENT
          #                                  (Y/N)
  2         5       All          general
  3                 unsecured claims of      Yes.
                    the    Debtor   not                      Treatment A:
  4                 included in any          Entitled   to   If Class 5 votes as a Class to
                    other class.             vote            accept the Plan, in full and final
  5                                                          satisfaction of each, any, and all
                    Total amount of                          of their claims against the
  6                 class 5 claims is                        Debtor, each holder of a class 5
  7                 $18,480,055.54.                          allowed claim will receive 15
                                                             cents on the dollar for its allowed
  8                 The Claims Chart                         claim (the “15-Cent Recovery”),
                    attached as Exhibit                      with: (i) at least 7.5 cents* on the
  9                 3 to the Plan shows                      dollar for its claim within fifteen
                    all claims which                         (15) days of the Effective Date
 10                 were scheduled by                        (the “Cash On Hand Payment”),
 11                 the Debtor and all                       and (ii) the balance of the 15
                    proofs of claim                          cents on the dollar still owing on
 12                 which have been                          its claim (i.e. 7.5 cents) by no
                    filed against the                        later     than      the    one-year
 13                 Debtor that are in                       anniversary of the Effective Date
                    Class 5. The Claims                      (the “Remainder Payment”).
 14
                    Chart reflects the
 15                 anticipated amounts                      * Every dollar of Net Bond
                    of claims lessors of                     Proceeds recovered shall be paid
 16                 Debtor’s         non-                    to Class 5 allowed claim holders,
                    residential       real                   pari passu, within 30 days of
 17                 property       leases                    receipt of the Net Bond Proceeds
                    capped      by      §                    into the Bond Account. Thus, if
 18
                    502(b)(6).                               funds in the Bond Account are
 19                                                          sufficiently high within 15 days
                                                             of the Plan Effective Date, it is
 20                                                          possible that more than 7.5 cents
                                                             on the dollar could be distributed
 21                                                          to Class 5. Class 5’s recovery
 22                                                          shall be capped at the 15-Cent
                                                             Recovery and all Net Bond
 23                                                          Proceeds in excess of the
                                                             Remainder Payment due to Class
 24                                                          5 after application of the Cash
                                                             On Hand Payment shall be
 25                                                          payable to Class 1 pursuant to the
 26                                                          terms hereto.

 27                                                          The Class 5 Lien shall be fully
                                                             extinguished      upon      the
 28                                                          distribution of payments, under



                                                 23
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  1                                                   Treatment A, equal to, in the
                                                      aggregate, the 15-Cent Recovery.
  2
                                                      Until paid pursuant to the terms
  3                                                   of the Plan, the holders of Class 5
  4                                                   claims shall have and share pari
                                                      passu, a first position lien on the
  5                                                   recovery of the Net Bond
                                                      Proceeds and Bond Account.
  6
                                                      The payments provided for under
  7
                                                      Treatment A shall be made
  8                                                   regardless of the income or net
                                                      proceeds generated by the Debtor
  9                                                   during the life of the Plan.
 10                                                   If the Court allows a substantial
                                                      contribution claim under §
 11
                                                      503(b) for the attorneys’ fees and
 12                                                   costs of unsecured creditors’
                                                      counsel       (a      “Substantial
 13                                                   Contribution Claim”), then such
                                                      claim(s) shall be paid from the
 14                                                   15-Cent Recovery, which will
 15                                                   result in Class 5 receiving less
                                                      than fifteen cents on the dollar.
 16                                                   Although such an apportionment
                                                      will be subject to court approval,
 17                                                   the Debtor will not object to how
                                                      Class 5 claim holders and their
 18                                                   creditors’ counsel seek to
 19                                                   apportion the 15-Cent Recovery
                                                      among them.
 20
                                                      Treatment B:
 21                                                   If Class 5 votes as a Class to
                                                      reject the Plan, or does not vote
 22                                                   at all, then, in full and final
 23                                                   satisfaction of each, any, and all
                                                      of their claims against the
 24                                                   Debtor, each holder of a class 5
                                                      allowed claim will receive a cash
 25                                                   payment equal to its prorated
                                                      share of the Debtor’s projected
 26                                                   net disposable income for a
 27                                                   three-year period, paid over a
                                                      five-year period, commencing as
 28                                                   of the Effective Date (the “Net



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  1                                                   Disposable Income”), and upon
                                                      confirmation of the Plan, the
  2                                                   amount of $2.1 million shall be
                                                      and is conclusively determined to
  3                                                   be the projected net disposable
  4                                                   income pursuant to 11 U.S.C. §
                                                      1191.     Notwithstanding     any
  5                                                   portion of this Plan, under
                                                      Treatment B, no lien on any
  6                                                   Debtor      or    Estate    assets
                                                      (including, without limitation,
  7
                                                      the Bond Collateral, Bond
  8                                                   Account,      and    Net    Bond
                                                      Proceeds) shall be given to Class
  9                                                   5, and Classes 1, 2, 3, and 4,
                                                      shall retain first, second, third,
 10                                                   and fourth position liens,
                                                      respectively, against the entirety
 11
                                                      of the Debtor and Estate’s assets
 12                                                   (including, without limitation,
                                                      the Bond Collateral, Bond
 13                                                   Account,      and    Net    Bond
                                                      Proceeds).
 14
 15                                                   The Debtor will pay the Class 5
                                                      allowed claims in six equal
 16                                                   installments according to the
                                                      following payment schedule:
 17
                                                      1st payment: within fifteen (15)
 18                                                   days of the Effective Date;
 19                                                   2nd payment: 1-year anniversary
                                                      of the Effective Date.
 20                                                   3rd payment: 2-year anniversary
                                                      of the Effective Date.
 21                                                   4th payment: 3-year anniversary
                                                      of the Effective Date.
 22                                                   5th payment: 4-year anniversary
 23                                                   of the Effective Date.
                                                      6th payment: 5-year anniversary
 24                                                   of the Effective Date.

 25                                                   For Both Treatment A and B:
                                                      Class 5 will receive neither post-
 26                                                   petition nor post-confirmation
 27                                                   interest on their claims. With the
                                                      exception of the payments
 28                                                   outlined above, capped at the 15-



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  1                                                                Cent Recovery, Class 5 and its
                                                                   attorneys will not be entitled to
  2                                                                any reimbursements, expenses,
                                                                   costs, or other payments.
  3
  4                                                                The Debtor may prepay Class 5
                                                                   at any time without prepayment
  5                                                                penalty.

  6                                                                If checks are in amounts of less
                                                                   than $50, such checks may be
  7
                                                                   deferred until the next annual
  8                                                                payment until the aggregate due
                                                                   to such creditor is in an amount
  9                                                                of (i) at least $50 or (ii) the total
                                                                   distribution owed to the creditor
 10                                                                at 15 cents on the dollar of the
                                                                   allowed claim.
 11
 12                                                                In the event of a default in
                                                                   payment, holders of Class 5
 13                                                                allowed claims may seek
                                                                   enforcement of Plan treatment in
 14                                                                the Bankruptcy Court as their
 15                                                                exclusive remedy with the
                                                                   Bankruptcy      Court    holding
 16                                                                exclusive jurisdiction.

 17                                                                Attached as Exhibit 3 to the Plan
                                                                   is a listing of the name and dollar
 18                                                                amount of the class 5 allowed
 19                                                                claims expected to be paid by the
                                                                   Debtor pursuant to the terms of
 20                                                                the Plan, and the estimated
                                                                   prorated recovery.
 21
 22
 23
                    g. Class of Interest Holders
 24
             Interest holders are the parties who hold an ownership interest (i.e., equity interest) in
 25
      the Debtor.
 26
             In compliance with 11 U.S.C. § 1123(a)(6), the Debtor’s charter, bylaws, and/or
 27
      operating agreement will be amended to provide for the inclusion of a provision prohibiting the
 28



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  1 issuance of nonvoting equity securities, and providing, as to the several classes of securities
  2 possessing voting power, an appropriate distribution of such power among classes.
  3          The following chart identifies the Plan’s treatment of the class of interest holders:

  4          CLASS        DESCRIPTION                 IMPAIRED             TREATMENT
             #                                        (Y/N)
  5            6          Sole    member        of    Unimpaired           The class 6 equity interests
  6                       Debtor:                                          will retain its rights and
                                                      The     class    6   interests           without
  7                       Escada Store Services       interest holder is   impairment.
                          LLC                         conclusively
  8                                                   presumed        to   Class 6 receives no
                                                      have voted to        payments on account of its
  9
                                                      accept the Plan      equity interests during the
 10                                                   by operation of      life of the Plan.
                                                      law
 11
 12          B. Means of Effectuating and Implementing the Plan
 13
                  1. Funding for the Plan
 14
             The Plan will be funded with the Debtor’s cash on hand on the Plan Effective Date,
 15
      recovery of the Bond Collateral into the Bond Account, exit financing, and continued business
 16
 17 operations. The Debtor’s plan projections of future income are attached as Exhibit 2 to the
 18 Plan. On the Effective Date, Escada Sourcing and Production LLC (“Exit Financier”) will
 19 contribute exit financing in the amount of $150,000 subject to the terms of the settlement
 20
      agreement (the “Settlement Agreement”) attached as Exhibit 4 to the Plan. The Settlement
 21
      Agreement shall provide, in part, that the Exit Financier will (i) provide a five-year, zero-
 22
      interest, $150,000 loan to the Debtor, (ii) agree to subordinate its claim for post-petition priority
 23
 24 consignment fees, (iii) subordinate its claims under Classes 3 and 4 to those of Class 5 to the
 25 extent provided for in the Debtor’s Plan and (iv) vote in favor of the Debtor’s Plan, in return for
 26 which the Debtor and the Estate shall irrevocably grant the Exit Financier a complete release of
 27 claims, including, without limitation, for any preference or fraudulent transfers or avoidance
 28
      action claims. After the Effective Date, the Debtor will fund payments through operations, and


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  1 the Debtor may attempt to refinance and/or raise capital to make early prepayment to Class 5,
  2 but has no obligation to do so. If the Plan is confirmed pursuant to 11 U.S.C. § 1191(a), the
  3 Debtor will use its commercially reasonable best efforts to liquidate or materially reduce the
  4
      Bond Collateral. The Debtor will distribute to Class 5 all Net Bond Proceeds from the Bond
  5
      Collateral no later than 30 days after the corresponding cash is actually received in the Bond
  6
      Account, up to the remaining 7.5 cents on the dollar payable to Class 5 hereunder following the
  7
  8 initial 7.5 cents on the dollar payment made on the Plan’s effective. However, if the Plan is
  9 confirmed under § 1191(b), then Class 5 creditors will be paid approximately 11.36 cents on the
 10 dollar over the course of five years from Debtor’s future plan projection income.
 11
                     2. Composition of the Debtor After the Effective Date
 12
             After the Effective Date, the Debtor shall be known as the “Reorganized Debtor.” The
 13
      members of the Debtor will remain the same as the Debtor’s current members.
 14
                     3. Post-Confirmation Management and Compensation
 15
 16             The Reorganized Debtor will be managed by Escada Store Services LLC for no

 17 compensation. The day-to-day management will be led by Kevin Walsh. As has been the
 18 situation throughout the case, the Debtor asserts that Mr. Walsh is not an insider, his
 19
      compensation has not been subject to insider-compensation procedures, and his compensation is
 20
      not subject to disclosure. Mr. Walsh does not hold any direct or indirect ownership in the
 21
      Debtor.
 22
 23          In the ordinary course of business and subject to the business judgment rule, the

 24 Reorganized Debtor may hire and/or terminate officers, directors, and/or managers, and
 25 increase, decrease, and/or change the compensation of its managers, officers, and directors after
 26 the Effective Date so long as such alternations neither interfere with nor jeopardize payments to
 27
      creditors under the Plan.
 28



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  1                  4. Disbursing Agent

  2          If the Plan is confirmed pursuant to 11 U.S.C. § 1191(a), the Reorganized Debtor will
  3 act as the disbursing agent under the Plan. If the Plan is confirmed pursuant to 11 U.S.C. §
  4
      1191(b), the Reorganized Debtor will act as the disbursing agent under the Plan and submit a
  5
      quarterly report to the Trustee, within 45 days after the end of each quarter, detailing the payees
  6
      and amounts of payment to creditors under the Plan with bank statements as proof of payment.
  7
  8 The Reorganized Debtor will not charge any disbursing agent fee for making the Plan
  9 distributions. With specific regards to the Bond Account and Net Bond Proceeds, however,
 10 LNBYG shall act as the disbursing agent and shall only charge customary, hourly fees for such
 11
      services, which shall be paid by the Debtor or Reorganized Debtor.
 12
                      5. Objections to Claims
 13
             The Debtor or the Reorganized Debtor, as the case may be, will file objections to all
 14
 15 claims that are inconsistent with the Debtor’s books and records or are otherwise objectionable
 16 to the Debtor unless the Debtor deems the inconsistency to be insignificant. With respect to
 17 disputed claims that are not resolved prior to the Plan Effective Date, the Reorganized Debtor
 18 will have the authority, in its sole discretion, and in the reasonable exercise of its business
 19
      judgment, to settle or compromise any disputed claim without further notice or Court approval.
 20
      As provided by Section 502(c) of the Bankruptcy Code, the Bankruptcy Court may estimate any
 21
      contingent or unliquidated disputed claim for purposes of confirmation of the Plan. As of the
 22
 23 Effective Date, the Reorganized Debtor shall have the sole authority and standing to file any
 24 objections to claims following the confirmation of the Plan, and the Court shall retain
 25 jurisdiction over the Debtor, the Reorganized Debtor, and the Bankruptcy Case to resolve such
 26 objections to claims following the confirmation of the Plan. Nothing contained in the Plan shall
 27
      constitute a waiver or release by the Debtor or the Reorganized Debtor of any rights of setoff or
 28



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  1 recoupment, or of any defense, the Debtor or the Reorganized Debtor may have with respect to
  2 any claim. The deadline for filing claims objections shall be 60 days after the Plan Effective
  3 Date. The Reorganized Debtor shall withhold from property to be distributed under the Plan
  4
      and will place in reserve a sufficient amount of cash to be distributed on account of claims that
  5
      are disputed and have not been allowed as of the date of distribution to creditors (the “Disputed
  6
      Claims”) of any particular class as if such claims were allowed in full, which shall not delay
  7
  8 payment to allowed claims that are not Disputed Claims.
  9              6. Avoidance Actions, Strong Arm Powers, and Causes of Action
 10          All avoidance actions and strong-arm powers of a trustee under chapter 5 of the

 11 Bankruptcy Code and any motions and/or adversary proceedings for substantive consolidation,
 12 shall irrevocably vest in the Debtor and be transferred in total to the Reorganized Debtor upon
 13 confirmation of the Plan. The deadline for filing avoidance actions under chapter 5 of the
 14 Bankruptcy Code shall be the Plan Effective Date. The deadline for the Debtor or Reorganized
 15 Debtor to file any non-avoidance action shall be the earlier of (i) the statute of limitations for
 16 such cause of action and (ii) two years after the Petition Date. Regardless of whether they are
 17 listed on the Debtor’s bankruptcy schedules of assets or specified in the Plan, all causes of
 18 action owned by the Debtor shall vest in the Reorganized Debtor unless specifically settled with
 19 such settlement approved by order of the Bankruptcy Court prior to confirmation of the Plan. A
 20 list of potential preferential avoidable transfers are listed as Exhibit 5 hereto. The Debtor does
 21 not believe there are any causes of action for actual or fraudulent voidable transfers. The Debtor
 22 may have a case of action against Lexon Surety related to bond disputes, which is under
 23 investigation.
 24              7. Employment of Professionals by the Reorganized Debtor and Payment of
 25                  Professional Fees and Expenses After the Effective Date
 26          On and after the Effective Date, the Reorganized Debtor shall have the right to employ

 27 and compensate professionals as the Reorganized Debtor determines is appropriate and to
 28



                                                      30
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  1 compensate any such professionals without the need for any further order of the Bankruptcy
  2 Court.
  3              8. Exemption from Transfer Taxes

  4          Pursuant to section 1146(c) of the Bankruptcy Code, the issuance, transfer or exchange

  5 of a security, or the making or delivery of an instrument of transfer under a plan confirmed
  6 under section 1129 or 1191 of the Bankruptcy Code, may not be taxed under any law imposing a
  7 stamp tax or similar tax. Transfers under the Plan that are exempt from taxes under section
  8 1146(c) of the Bankruptcy Code include all transfers by the Debtor after the commencement of
  9 the Bankruptcy Case in contemplation of the Plan but prior to the Effective Date. The taxes
 10 from which such transfers are exempt include stamp taxes, recording taxes, sales and use taxes,
 11 transfer taxes, and other similar taxes.
 12               9. Distributions to Be Made Pursuant to the Plan

 13          Except as otherwise agreed to by the Reorganized Debtor in writing, distributions to be

 14 made to holders of allowed claims pursuant to the Plan may be delivered by regular mail,
 15 postage prepaid, to the address shown in the Debtor’s schedules, as they may from time to time
 16 be amended in accordance with Bankruptcy Rule 1009, or, if a different address is stated in a
 17 proof of claim duly filed with the Bankruptcy Court, to such address. Checks issued to pay
 18 allowed claims shall be null and void if not negotiated within sixty (60) days after the date of
 19 issuance thereof.
 20              10. Exculpations and Releases

 21          To the maximum extent permitted by law, not any one of the Debtor, the Reorganized

 22 Debtor, Brookfield, Simon Property, 717 GFC LLC, Eden Roc LLC, Escada Sourcing and
 23 Production LLC, Megan International LLC, each of its/their management, each of its/their
 24 professionals employed or retained by any of them, whether or not by Bankruptcy Court order
 25 (collectively, the “Exculpated Parties”), shall have or incur any liability to any person or entity
 26 for any act taken or omission made in good faith in connection with or related to the formulation
 27 and implementation of the Plan, or a contract, instrument, release, or other agreement or
 28 document created in connection therewith, the solicitation of acceptances for or confirmation of



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  1 the Plan, or the consummation and implementation of the Plan and the transactions
  2 contemplated therein, including the distribution of estate funds.
  3          For the avoidance of doubt the exculpation and release applies only to the events the

  4 Debtor’s case and Plan as set forth in the preceding paragraph. This is not – and shall not be
  5 construed to be – a release or exculpation of the Exculpated Parties for matters outside of the
  6 Debtor’s case and Plan as set forth in the preceding paragraph.
  7              11. Injunctions

  8          The Plan Confirmation Order shall enjoin the prosecution, whether directly, derivatively

  9 or otherwise, of any claim, obligation, suit, judgment, damage, demand, debt, right, cause of
 10 action, equitable remedy, liability or interest released, discharged, stayed, or terminated
 11 pursuant to the Plan, including, but not limited to claims for voidable transfers, substantive
 12 consolidation, successor liability, recharacterization, and equitable subordination. Except as
 13 provided in the Plan or the Plan Confirmation Order, as of the Plan Effective Date, all entities
 14
      that have held, currently hold or may hold a claim or other debt or liability or equitable remedy
 15
      that was stayed or is discharged or an interest or other right of an equity security holder that is
 16
      extinguished pursuant to the terms of the Plan are permanently enjoined from taking any of the
 17
      following actions against: (I) (a) the Debtor, (b) the Reorganized Debtor, or (c) alleged alter
 18
      egos of the Debtor or Reorganized Debtor, or (II) their property; on account of any such
 19
      discharged claims, debts or liabilities or extinguished interests or rights: (i) commencing or
 20
      continuing, in any manner or in any place, any action or other proceeding; (ii) enforcing,
 21
      attaching, collecting or recovering in any manner any judgment, award, decree or order; (iii)
 22
      creating, perfecting or enforcing any lien or encumbrance; (iv) asserting a setoff, right of
 23
 24 subrogation or recoupment of any kind against any debt, liability or obligation due to the
 25 Debtor; and (v) commencing or continuing any action in any manner, in any place, that does
 26 not comply with or is inconsistent with the provisions of the Plan. By accepting distributions
 27 pursuant to the Plan, each holder of an allowed claim receiving distributions pursuant to the
 28



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  1 Plan shall be deemed to have specifically consented to the injunctions set forth in this Section.
  2 The injunction described in this paragraph (the “Injunction”) is applicable to all creditors and
  3 parties in interest with respect to claims or causes of action arising or existing prior to the Plan
  4 Effective Date.
  5          All creditors and parties in interest who are presented with a copy of the Plan
  6 Confirmation Order are charged with actual knowledge of the Injunction and with actual
  7 knowledge that the Injunction is applicable to said creditor and/or party in interest (“Actual
  8 Knowledge”), such that it is impossible for said creditor and/or party in interest to have a good
  9 faith belief that the Injunction does not apply to said creditor’s and/or party in interest’s claim
 10 or cause of action. Accordingly, any creditor and/or party in interest charged with such Actual
 11 Knowledge may be held in contempt for violating the Injunction, which contempt proceeding
 12 shall include an award of the Reorganized Debtor’s reasonable attorneys’ fees and costs for
 13 enforcing the Injunction against any such creditor and/or party in interest.
 14                12. Executory Contracts and Unexpired Leases
 15          On the Effective Date, the Debtor will assume the executory contracts and unexpired
 16 leases set forth on Exhibit 6 to the Plan with the cure amount set forth on that exhibit. On the
 17 Effective Date, all of the Debtor’s remaining executory contracts and unexpired leases which
 18 have not previously been assumed or rejected by the Debtor shall be deemed to be rejected by
 19 the Debtor effective as of 11:59 PST on the day prior to the Plan Effective Date. THE BAR
 20 DATE FOR FILING A PROOF OF CLAIM BASED ON A CLAIM ARISING FROM
 21 THE REJECTION OF AN UNEXPIRED LEASE OR EXECUTORY CONTRACT
 22 WHICH IS REJECTED ON THE PLAN EFFECTIVE DATE WILL BE THIRTY (30)
 23 DAYS AFTER THE PLAN EFFECTIVE DATE. Any claim resulting from the Debtor’s
 24 rejection of an unexpired lease or executory contract will be barred if the proof of claim is not
 25 timely filed, unless the Court orders otherwise. Any allowed claim resulting from the Debtor’s
 26 rejection of an unexpired lease or executory contract will constitute a class 5 allowed claim,
 27
 28



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  1 subject to the limitations set forth in 11 U.S.C. § 502(b) and other applicable sections of the
  2 Bankruptcy Code.
  3                 13. Changes in Rates Subject to Regulatory Commission Approval

  4          The Debtor is not subject to governmental regulatory commission approval of its rates.

  5                 14. Retention of Jurisdiction

  6          After confirmation of the Plan and occurrence of the Plan Effective Date, in addition to

  7 jurisdiction which exists in any other court, the Bankruptcy Court will retain such jurisdiction
  8 as is legally permissible including for the following purposes:
  9                  i.     To resolve any and all disputes regarding the operation and interpretation

 10 of the Plan and the Plan Confirmation Order;
 11                  ii.    To determine the allowability, classification, or priority of claims and

 12 interests upon objection by the Debtor or the Reorganized Debtor and to consider any objection
 13 to claim or interest whether such objection is filed before or after the Effective Date;
 14                  iii.   To determine the extent, validity and priority of any lien asserted against

 15 property of the Debtor and property of the Debtor’s estate;
 16                  iv.    To construe and take any action to enforce the Plan, the Plan

 17 Confirmation Order, and any other order of the Bankruptcy Court, issue such orders as may be
 18 necessary for the implementation, execution, performance, and consummation of the Plan, the
 19 Plan Confirmation Order, and all matters referred to in the Plan and the Plan Confirmation
 20 Order, and to determine all matters that may be pending before this Bankruptcy Court in this
 21 Bankruptcy Case on or before the Effective Date with respect to any person or entity related
 22 thereto;
 23                  v.     To determine any and all applications for allowance of compensation and

 24 reimbursement of expenses of professionals for the period on or before the Effective Date;
 25                  vi.    To determine any request for payment of administrative expenses;

 26                  vii. To determine motions for the rejection, assumption, or assignment of

 27 executory contracts or unexpired leases filed before the Effective Date and the allowance of any
 28 claims resulting therefrom;



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  1                 viii.   To determine all applications, motions, adversary proceedings, contested

  2 matters, and any other litigated matters instituted during the pendency of the Bankruptcy Case
  3 whether before, on, or after the Effective Date;
  4                 ix.     To determine such other matters and for such other purposes as may be

  5 provided in the Plan Confirmation Order;
  6                 x.      To modify the Plan under Section 1193 of the Bankruptcy Code in order

  7 to remedy any apparent defect or omission in the Plan or to reconcile any inconsistency in the
  8 Plan so as to carry out its intent and purpose upon motion by the Reorganized Debtor;
  9                 xi.     Except as otherwise provided in the Plan and the Plan Confirmation

 10 Order, to issue injunctions, to take such other actions or make such other orders as may be
 11 necessary or appropriate to restrain interference with the Plan or the Plan Confirmation Order,
 12 or the execution or implementation by any person or entity of the Plan or the Plan Confirmation
 13 Order;
 14                 xii. To issue such orders in aid of consummation of the Plan and the Plan

 15 Confirmation Order, notwithstanding any otherwise applicable nonbankruptcy law, with respect
 16 to any person or entity, to the fullest extent authorized by the Bankruptcy Code or Bankruptcy
 17 Rules;
 18                 xiii; To enter a discharge, under 11 U.S.C. §§ 1192 and 1141(d), if applicable;

 19 and
 20                 xiv.    To enter a final decree closing the Bankruptcy Case.

 21          IV.    EFFECT OF CONFIRMATION OF THE PLAN

 22                 A. Discharge.
 23
             If the Plan is confirmed pursuant to 11 U.S.C. § 1191(a), the Debtor shall receive a
 24
      discharge of its debts pursuant to 11 U.S.C. § 1141(d) on the Effective Date. If the Plan is
 25
      confirmed pursuant to 11 U.S.C. § 1191(b), the Debtor shall receive a discharge pursuant to 11
 26
      U.S.C. §§ 1192 and 1141(d), as soon as practicable after the Debtor has completed payment to
 27
      the Classes for which the Plan was confirmed pursuant to 11 U.S.C. § 1191(b). If the Debtor
 28



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  1 prepays the payments provided for under the Plan to Class 5, then the discharge pursuant to 11
  2 U.S.C. § 1141(d)(1) shall be effective upon such prepayment.
  3                  B. Modification of the Plan.
  4
             The Debtor may modify the Plan at any time before confirmation.            However, the
  5
      Bankruptcy Court may require re-voting on the Plan if the Debtor modifies the Plan before
  6
      confirmation in a manner that materially and adversely affects a creditor or interest holder that
  7
      had voted in favor of the Plan. If the Plan is confirmed pursuant to 11 U.S.C. § 1191(a), the
  8
      Reorganized Debtor may seek to modify the Plan at any time after confirmation of the Plan so
  9
      long as (1) the Plan has not been substantially consummated, (2) circumstances warrant the
 10
      modification, and (3) the Bankruptcy Court authorizes the proposed modifications after notice
 11
 12 and a hearing.
 13          If the Plan is confirmed pursuant to 11 U.S.C. § 1191(b), the Reorganized Debtor may

 14 seek to modify the Plan during the life of the Plan as fixed by the Court, so long as (1) the
 15 modified plan still meets the requirements of 11 U.S.C. § 1191(b), (2) circumstances warrant
 16 the modification, and (3) the Bankruptcy Court authorizes the proposed modifications after
 17 notice and a hearing.
 18                  C. Post-Confirmation Status Reports.
 19
             Until a final decree closing the Bankruptcy Case is entered, the Post-Confirmation
 20
      Debtor will file quarterly post-confirmation status reports with the Bankruptcy Court explaining
 21
      what progress has been made toward consummation of the confirmed Plan. Even if the Plan is
 22
      confirmed pursuant to 11 U.S.C. § 1191(b), the Debtor, and not the Trustee, will file the post-
 23
      confirmation quarterly reports, notwithstanding Local Bankruptcy Rule 3020-2(c)(2).
 24
             The requirement of Local Bankruptcy Rule 3020-2(b)(2) for filing a report within 14
 25
      days of entry of the Plan Confirmation Report to set forth an anticipated substantial
 26
 27 consummation date is waived. If the Plan is confirmed pursuant to 11 U.S.C. § 1191(a), the
 28 projected substantial consummation date will be when the administrative expense claims are



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  1 approved and paid. If the Plan is confirmed pursuant to 11 U.S.C. § 1191(b), the projected
  2 substantial consummation date will be when Class 5 payments are completed. Nothing in the
  3 Plan waives the requirement of Local Bankruptcy Rule 3020-2(b)(4) for filing a notice that
  4 substantial consummation of the Plan has occurred.
  5                  D. Post-Confirmation Operations
  6          On and after the Effective Date, the Debtor will operate as the “Reorganized Debtor,”
  7
      and not as a “debtor in possession,” and will not be subject to motion practice and court
  8
      approval for, inter alia, (1) employing and compensating professionals for services rendered on
  9
      and after the Effective Date; (2) obtaining financing; (3) entering into transactions outside the
 10
      ordinary course of business; (4) budget approval; (5) compensating insiders; or (6) sale of
 11
      substantially all or any part of the Reorganized Debtor’s business.
 12
                     E. Post-Confirmation Conversion/Dismissal.
 13
 14          A creditor or any other party in interest may bring a motion to convert or dismiss the

 15 Bankruptcy Case under Section 1112(b) of the Bankruptcy Code after the Plan is confirmed,
 16 but before the final decree is entered, if there is a default in performing the Plan. If the
 17 Bankruptcy Court orders the Bankruptcy Case converted to chapter 7 after the Plan is
 18 confirmed, then all property that had been property of the Debtor’s chapter 11 estate that has
 19 not been disbursed pursuant to the Plan will revest in the chapter 7 estate, and the automatic
 20 stay will be reimposed upon the revested property, but only to the extent that relief from stay
 21 was not previously authorized by the Bankruptcy Court during the Bankruptcy Case, and, the
 22
      Bond Lien shall remain in place, and the Settlement shall remain in place.             The Plan
 23
      Confirmation Order may also be revoked under very limited circumstances. The Bankruptcy
 24
      Court may revoke the Plan Confirmation Order if it was procured by fraud and if a party in
 25
      interest brings an adversary proceeding to revoke confirmation before 180 days after the entry
 26
      of the Plan Confirmation Order pursuant to 11 U.S.C. § 1144.              If the Debtor and/or
 27
      Reorganized Debtor successfully defends against an adversary proceeding or other lawsuit to
 28



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  1 revoke discharge, revoke the Plan Confirmation Order, or otherwise allege confirmation by
  2 fraud, then Debtor and/or Reorganized Debtor shall be entitled to an award of reasonable
  3 attorneys’ fees and costs against any such plaintiff and its counsel.
  4                  F. Final Decree.
  5
             Once this estate has been fully administered as referred to in Bankruptcy Rule 3022, the
  6
      Reorganized Debtor will file a motion with the Bankruptcy Court to obtain a final decree to
  7
      close the Bankruptcy Case. The Reorganized Debtor will be responsible for the timely payment
  8
      of all fees incurred pursuant to 28 U.S.C. § 1930(a)(6). Notwithstanding Local Bankruptcy
  9
      Rule 3022-2(c), if the Plan is confirmed pursuant to 11 U.S.C. § 1191(b), the Reorganized
 10
      Debtor (and not the Trustee) will file final reports, accounts, and motion for final decree.
 11
 12 Presented By:
 13 LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
 14
      By:    /s/ John-Patrick M. Fritz
 15          JOHN-PATRICK M. FRITZ
             Attorneys for Chapter 11
 16          Debtor and Plan Proponent
 17 Escada America LLC
 18
 19 By:
             Kevin Walsh
 20          Director of Finance
             Authorized Agent for Debtor
 21
 22
 23
 24
 25
 26
 27
 28



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                                 Exhibit 1
                                                                        Case 2:22-bk-10266-BB      Doc 148 Filed 05/02/22 Entered 05/02/22 19:38:20                                                                               Desc
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Escada America LLC
Estimated Liquidation Value of Assets
                                                                                                                          Liquidation
Non-Exempt Assets                                                                                     Book Value           Discount     Chapter 7            Notes


Cash & Cash Equivalents                                                                                  $1,946,450.74          0.0%       $1,946,450.74     Cash as of 5/2/22

PP&E (Net of Depreciation)                                                                                 $597,000.00        100.0%                $0.00    As of 5/2/22

LOC - Bond Department / Lexon Insurance Company                                                            $350,000.00        100.0%                $0.00    According to Lexon, when the bond terminates, Lexon will draw against its two letters of credit

                                                                                                                                                             for $408,065.65 for payments to customs and legal bills, leaving a balance of $341,934.15, provided Lexon
LOC - Bond Department / Lexon Insurance Company                                                            $400,000.00         14.5%         $341,934.35
                                                                                                                                                             incurrs no more costs or expenses.
LOC - Western Surety Company                                                                             $1,400,000.00          0.0%       $1,400,000.00

LOC - 2% Cushion at JPM Chase                                                                               $47,079.74          0.0%          $47,079.74     Assumes that JPM Chase will not assert any attorneys' fees or costs.

Accounts Receivable - Credit Cards                                                                           $5,923.00          0.0%           $5,923.00     As of 3/31/22

Accounts Receivable - Department Stores                                                                    $486,965.78         95.0%          $24,348.29
                                                                                                                                                             Debtor believes that the $2.2M in payments in the 12 months pre-filing were proper, but setting forth a
Potential Avoidance Claims                                                                               $2,200,000.00         45.5%       $1,200,000.00
                                                                                                                                                             potential recovery estimate for purposes of this analysis
Total Non-Exempt Assets Before Admin & Other Expenses                                                    $5,850,790.59                     $4,965,736.12


Less: Secured Debt - Eden Roc LLC                                                                         ($579,000.00)         0.0%        ($579,000.00)

                                                                                                                                                             Debtor does not expect an actual discount and is informed that Mega would defend the validity of its
Less: Secured Debt - Mega International LLC                                                             ($1,700,000.00)        50.0%        ($850,000.00)
                                                                                                                                                             claim and lien, but this hypotehtical analysis sets forth a potential discount for illustrative purposes only.

                                                                                                                                                             It is possible that as much as $579,025.32 is subject to defenses on preferential lien avoidance claims,
Less: Secured Debt - Escada Sourcing and Production LLC                                                ($19,719,717.46)       100.0%                $0.00    however, and the Debtor is informed that ESP would defend the validity of its claim and lien, but, for
                                                                                                                                                             illustrative purposes, the lien on the entire claim is treated as avoided.
                                                                                                                                                             Debtor does not expect an actual discount, and Debtor is informed that Mega and ESP would defend the
Less: Post-Petition Administrative Trade Claims of Mega International                                                                                        validity of their claims, on post-petition benefits advanced by Mega and post-petition consignment fees
                                                                                                          ($400,000.00)        62.5%        ($150,000.00)
LLC and Escada Sourcing and Production LLC                                                                                                                   owed to ESP, but setting forth a potential discount for purposes of hypotehtical analysis for illustrative
                                                                                                                                                             purposes.
Less: Chapter 7 Trustee Fees                                                                                                                ($177,885.46)

Less: Chapter 7 Trustee Legal and Accounting Fees                                                                                           ($500,000.00)
                                                                                                                                                             These expenses consist of non-insider payroll, etc. accrued in the ordinary course and paid in arrears on
Less: Chapter Post-Petition Administrative, Non-insider Trade
                                                                                                                                            ($150,000.00)    regular 15-day or 30-day terms but not yet paid in the ordinary course at the time of an immediate
Payables Accrued in Ordinary Course but Unpaid
                                                                                                                                                             hypothetical conversion to chapter 7.
Less: SubChapter V Trustee Fees and Expenses                                                                                                 ($50,000.00)

Less: Chapter 11 Debtor Counsel Fees and Expenses                                                                                           ($125,000.00)

Less: Chapter 11 Accountant Fees and Expenses                                                                                                ($25,000.00)

Less: Unpaid Admin Landlord Rent                                                                                                              ($8,816.03)

Less: Priority Unsecured Claims (other than NYC Rent Tax)                                                                                    ($88,037.47)

Less: NYC Rent Tax                                                                                                                          ($349,209.25)
Estimated Amount Available to Pay Allowed General Unsecured Claims                                                                         $1,912,787.91



Est Total Amount of General Unsecured Claims for Chapter 7 (including insiders)                                                           $37,524,411.61

Est Total Class 5 General Unsecured Claims                                                                                                $18,480,055.54

Prorated Recovery for General Unsecured Claims for Chapter 7                                                                                        5.10%
                                                                                                                                                             Debtor does not expect that affiliate unsecured debt will be disallowed, and Debtor is informed the Escada
Prorated Class 5 General Unsecured Creditor Recovery, if all affiliate unsecured debt disallowed                                                    10.35%   Sourcing and Production LLC would defend the validity of its claim, but this hypothetical scenario is
                                                                                                                                                             outlined for illustrative purposes.
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                                 Exhibit 2
                                                           Case 2:22-bk-10266-BB                                                  Doc 148 Filed 05/02/22 Entered 05/02/22 19:38:20                                                                                                                     Desc
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        Escada America LLC
        5 Year Cash Forecast
        $ in Thousands, Except per Unit Data                                                          ME            ME           ME           ME            ME            ME                   ME           ME           ME           ME           ME           ME           YE            YE           YE           YE           YE
        Fcst / Act                                                                                   FCST          FCST         FCST         FCST          FCST          FCST             FCST             FCST         FCST         FCST         FCST         FCST         FCST          FCST         FCST         FCST         FCST
        Projection Month                                                                               1             2            3            4             5             6                   7             8            9           10           11           12            8            20           32           44           56
        Month / Year Ending                                                                         Aug-22         Sep-22       Oct-22       Nov-22       Dec-22         Jan-23          Feb-23            Mar-23       Apr-23       May-23       Jun-23       Jul-23       Jul-23        Jul-24       Jul-25       Jul-26       Jul-27

  1     Beginning Operating Cash                                                                      $1,700          $164         $165         $170          $170          $117                $122          $114         $402         $403         $408       $1,750       $1,700          $355         $351         $391         $564
  2
  3             ( + ) Store Receipts                                                                    $288          $281         $288         $281          $288          $288                $267          $288         $281         $288         $281         $288       $3,403        $3,471       $3,540       $3,611       $3,683
  4             ( + ) Other / Liquidation Receipts                                                          20           20           20           20            20            20                   20            20          20           20           20           20           240           240          240          240          240
  5             ( + ) Issuance of Exit Financing                                                           150              -            -            -            -              -                   -             -            -            -            -            -         150              -            -            -            -
  6             ( + ) Release of Bond LC (1)                                                                  -             -            -            -            -              -                   -          342             -            -     1,400               -     1,742                -            -            -            -
  5             ( + ) 3rd Party Sublease Contribution                                                       35           35           35           35            35            35                   35            35          35           35           35           35           420           420          420          420          420
  6     Total Receipts & Income                                                                         $493          $336         $343         $336          $343          $343                $322          $685         $336         $343       $1,736         $343       $5,955        $4,131       $4,200       $4,271       $4,343
  7
  8             ( - ) Consignment Fee (to be Accrued) (2)                                                   $0           $0           $0           $0            $0            $0                   $0            $0          $0           $0           $0           $0            $0            $0           $0           $0           $0
  9             ( - ) HQ Personnel                                                                          (50)         (50)         (50)         (50)          (50)          (50)                 (50)         (50)         (50)         (50)         (50)         (50)         (600)      (600)        (600)        (600)        (600)
  10            ( - ) Store Personnel                                                                       (60)         (59)         (60)         (59)          (60)          (60)                 (56)         (60)         (59)         (60)         (59)         (60)         (715)      (729)        (743)        (758)        (774)
  11            ( - ) Store Associate Retention Bonus                                                        (1)          (1)          (1)          (1)           (1)           (1)                  (1)          (1)          (1)          (1)          (1)          (1)          (12)            -            -            -            -
  12            ( - ) Selling and Shipping                                                                   (9)          (8)          (9)          (8)           (9)           (9)                  (8)          (9)          (8)          (9)          (8)          (9)         (102)      (104)        (106)        (108)        (111)
  13            ( - ) Store Rent                                                                            (95)         (95)         (95)         (95)          (95)          (95)                 (95)         (95)         (95)         (95)         (95)         (95)    (1,140)       (1,140)     ($1,140)      (1,140)      (1,140)
  14            ( - ) HQ Rent                                                                               (35)         (35)         (35)         (35)          (35)          (35)                 (35)         (35)         (35)         (35)         (35)         (35)         (420)      (420)        (420)        (420)        (420)
  15            ( - ) Financial Charges                                                                      (4)          (4)          (4)          (4)           (4)           (4)                  (4)          (4)          (4)          (4)          (4)          (4)          (51)         (52)         (53)         (54)         (55)
  16            ( - ) Benefits                                                                              (45)         (45)         (45)         (45)          (45)          (45)                 (45)         (45)         (45)         (45)         (45)         (45)         (540)      (540)        (540)        (540)        (540)
  17            ( - ) Misc. (Facilities & Other)                                                             (7)          (7)          (7)          (7)           (7)           (7)                  (7)          (7)          (7)          (7)          (7)          (7)          (85)         (87)         (89)         (90)         (92)
  18            ( - ) Utilities, Telephones, Networks                                                        (5)          (5)          (5)          (5)           (5)           (5)                  (5)          (5)          (5)          (5)          (5)          (5)          (60)         (60)         (60)         (60)         (60)
  19            ( - ) Sales Taxes                                                                           (26)         (26)         (26)         (26)          (26)          (26)                 (24)         (26)         (26)         (26)         (26)         (26)         (310)      (315)        (321)        (327)        (333)
  20            ( - ) Interest Expense on Exit Financing                                                      -             -            -            -            -              -                   -             -            -            -            -            -            -             -            -            -            -
  21    Total Operating Disbursements                                                                  ($338)        ($335)       ($338)       ($335)        ($338)        ($338)              ($330)        ($338)       ($335)       ($338)       ($335)       ($338)     ($4,034)      ($4,047)     ($4,073)     ($4,098)     ($4,125)
  22
  23    Net Cash Flow Before Plan Expenses                                                              $155             $1           $5           $1            $5            $5                   ($8)      $347            $1           $5      $1,401            $5      $1,920             $84       $128         $173         $219
  24
  25            ( - ) LNBYG (Debtor's Counsel)                                                             (125)            -            -            -            -              -                   -             -            -            -            -            -         (125)            -            -            -            -
  26            ( - ) Gregory Jones (Sub V Trustee)                                                         (50)            -            -            -            -              -                   -             -            -            -            -            -          (50)            -            -            -            -
  27            ( - ) HCVT (Debtor's Accountant)                                                            (25)            -            -            -            -              -                   -             -            -            -            -            -          (25)            -            -            -            -
  28            ( - ) County of Los Angeles                                                                 (10)            -            -            -            -              -                   -             -            -            -            -            -          (10)            -            -            -            -
  29            ( - ) CA Franchise Tax Board                                                                 (1)            -            -            -            -              -                   -             -            -            -            -            -           (1)            -            -            -            -
  30            ( - ) IRS                                                                                   (80)            -            -            -            -              -                   -             -            -            -            -            -          (80)            -            -            -            -
  31            ( - ) NYC Dept. of Finance                                                                    -             -            -            -          (58)             -                   -          (58)            -            -         (58)            -         (175)         (88)         (88)            -            -
  32            ( - ) Class I Eden Roc LLC                                                                    -             -            -            -            -              -                   -             -            -            -            -            -            -             -            -            -            -
  33            ( - ) Class II Mega International LLC                                                         -             -            -            -            -              -                   -             -            -            -            -            -            -             -            -            -            -
  34            ( - ) Class III Escada Sourcing and Production LLC                                            -             -            -            -            -              -                   -             -            -            -            -            -            -             -            -            -            -
  35            ( - ) Class IV Escada Sourcing and Production LLC                                             -             -            -            -            -              -                   -             -            -            -            -            -            -             -            -            -            -
  36            ( - ) Class V General Unsecured Creditors (3)                                         (1,400)               -            -            -            -              -                   -             -            -            -            -    (1,400)      (2,800)               -            -            -            -
  37    Ending Operating Cash                                                                           $164          $165         $170         $170          $117          $122                $114          $402         $403         $408       $1,750         $355         $355          $351         $391         $564         $782
  38
  39    Memo: Unpaid Consignment Fees to Escada Sourcing and Production LLC (1)                            $46           $91       $137         $182          $229          $275                $318          $364         $409         $455         $500         $546         $546        $1,166       $1,796       $2,437       $3,088
  40
  41
  42    (1) If the Bond in the amount of $1.4M is recovered sooner, proceeds will be distributed to the Class V General Unsecured Creditors within 30 days of receipt.
  42    (2) Assumes 15% of Retail and Other / Liquidation Receipts.
  43    (3) Primary source of this payment is expected from bond recovery and will is to be paid to Class 5 within 30 days of receipt, regardless of when recovered, but, under any circumstance, no later than July 31, 2023.




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        Escada America LLC
        5 Year Cash Forecast
        $ in Thousands, Except per Unit Data                                                          ME            ME           ME           ME            ME           ME                   ME           ME           ME           ME           ME           ME           YE           YE           YE           YE           YE
        Fcst / Act                                                                                   FCST          FCST         FCST         FCST          FCST         FCST             FCST             FCST         FCST         FCST         FCST         FCST         FCST         FCST         FCST         FCST         FCST
        Projection Month                                                                               1             2            3            4             5            6                   7             8            9           10           11           12           12           24           36           48           60
        Month / Year Ending                                                                         Aug-22         Sep-22       Oct-22       Nov-22       Dec-22        Jan-23          Feb-23            Mar-23       Apr-23       May-23       Jun-23       Jul-23       Jul-23       Jul-24       Jul-25       Jul-26       Jul-27

  1     Beginning Operating Cash                                                                      $1,700          $135         $136         $141          $141            $88                 $93           $85       $373         $374         $379       $1,721       $1,700       $1,277         $923         $613         $436
  2
  3             ( + ) Store Receipts                                                                    $288          $281         $288         $281          $288         $288                $267          $288         $281         $288         $281         $288       $3,403       $3,471       $3,540       $3,611       $3,683
  4             ( + ) Other / Liquidation Receipts                                                          20           20           20           20            20           20                   20            20          20           20           20           20           240          240          240          240          240
  5             ( + ) Issuance of Exit Financing                                                           150              -            -            -            -             -                   -             -            -            -            -            -         150             -            -            -            -
  6             ( + ) Release of Bond LC                                                                      -             -            -            -            -             -                   -          342             -            -     1,400               -     1,742               -            -            -            -
  5             ( + ) 3rd Party Sublease Contribution                                                       35           35           35           35            35           35                   35            35          35           35           35           35           420          420          420          420          420
  6     Total Receipts & Income                                                                         $493          $336         $343         $336          $343         $343                $322          $685         $336         $343       $1,736         $343       $5,955       $4,131       $4,200       $4,271       $4,343
  7
  8             ( - ) Consignment Fee (to be Accrued) (1)                                                   $0           $0           $0           $0            $0           $0                   $0            $0          $0           $0           $0           $0            $0           $0           $0           $0           $0
  9             ( - ) HQ Personnel                                                                          (50)         (50)         (50)         (50)          (50)         (50)                 (50)         (50)         (50)         (50)         (50)         (50)      (600)        (600)        (600)        (600)        (600)
  10            ( - ) Store Personnel                                                                       (60)         (59)         (60)         (59)          (60)         (60)                 (56)         (60)         (59)         (60)         (59)         (60)      (715)        (729)        (743)        (758)        (774)
  11            ( - ) Store Associate Retention Bonus                                                        (1)          (1)          (1)          (1)           (1)          (1)                  (1)          (1)          (1)          (1)          (1)          (1)         (12)            -            -            -            -
  12            ( - ) Selling and Shipping                                                                   (9)          (8)          (9)          (8)           (9)          (9)                  (8)          (9)          (8)          (9)          (8)          (9)      (102)        (104)        (106)        (108)        (111)
  13            ( - ) Store Rent                                                                           ($95)         (95)         (95)         (95)          (95)         (95)                 (95)         (95)         (95)         (95)         (95)         (95)    (1,140)      (1,140)     ($1,140)      (1,140)      (1,140)
  14            ( - ) HQ Rent                                                                               (35)         (35)         (35)         (35)          (35)         (35)                 (35)         (35)         (35)         (35)         (35)         (35)      (420)        (420)        (420)        (420)        (420)
  15            ( - ) Financial Charges                                                                      (4)          (4)          (4)          (4)           (4)          (4)                  (4)          (4)          (4)          (4)          (4)          (4)         (51)         (52)         (53)         (54)         (55)
  16            ( - ) Benefits                                                                              (45)         (45)         (45)         (45)          (45)         (45)                 (45)         (45)         (45)         (45)         (45)         (45)      (540)        (540)        (540)        (540)        (540)
  17            ( - ) Misc. (Facilities & Other)                                                             (7)          (7)          (7)          (7)           (7)          (7)                  (7)          (7)          (7)          (7)          (7)          (7)         (85)         (87)         (89)         (90)         (92)
  18            ( - ) Utilities, Telephones, Networks                                                        (5)          (5)          (5)          (5)           (5)          (5)                  (5)          (5)          (5)          (5)          (5)          (5)         (60)         (60)         (60)         (60)         (60)
  19            ( - ) Sales Taxes                                                                           (26)         (26)         (26)         (26)          (26)         (26)                 (24)         (26)         (26)         (26)         (26)         (26)      (310)        (315)        (321)        (327)        (333)
  20            ( - ) Interest Expense on Exit Financing                                                      -             -            -            -            -             -                   -             -            -            -            -            -            -            -            -            -            -
  21    Total Operating Disbursements                                                                  ($338)        ($335)       ($338)       ($335)        ($338)       ($338)              ($330)        ($338)       ($335)       ($338)       ($335)       ($338)     ($4,034)     ($4,047)     ($4,073)     ($4,098)     ($4,125)
  22
  23    Net Cash Flow Before Plan Expenses                                                              $155             $1           $5           $1            $5            $5                  ($8)      $347            $1           $5      $1,401            $5      $1,920            $84       $128         $173         $219
  24
  25            ( - ) LNBYG (Debtor's Counsel)                                                             (125)            -            -            -            -             -                   -             -            -            -            -            -      (125)              -            -            -            -
  26            ( - ) Gregory Jones (Sub V Trustee)                                                         (50)            -            -            -            -             -                   -             -            -            -            -            -         (50)            -            -            -            -
  27            ( - ) HCVT (Debtor's Accountant)                                                            (25)            -            -            -            -             -                   -             -            -            -            -            -         (25)            -            -            -            -
  28            ( - ) County of Los Angeles                                                                 (10)            -            -            -            -             -                   -             -            -            -            -            -         (10)            -            -            -            -
  29            ( - ) CA Franchise Tax Board                                                                 (1)            -            -            -            -             -                   -             -            -            -            -            -          (1)            -            -            -            -
  30            ( - ) IRS                                                                                   (80)            -            -            -            -             -                   -             -            -            -            -            -         (80)            -            -            -            -
  31            ( - ) NYC Dept. of Finance                                                                    -             -            -            -          (58)            -                   -          (58)            -            -         (58)            -      (175)           (88)         (88)            -            -
  32            ( - ) Class I Eden Roc LLC                                                                 (579)            -            -            -            -             -                   -             -            -            -            -            -      (579)              -            -            -            -
  33            ( - ) Class II Mega International LLC                                                         -             -            -            -            -             -                   -             -            -            -            -            -            -            -            -            -            -
  34            ( - ) Class III Escada Sourcing and Production LLC                                            -             -            -            -            -             -                   -             -            -            -            -            -            -            -            -            -            -
  35            ( - ) Class IV Escada Sourcing and Production LLC                                             -             -            -            -            -             -                   -             -            -            -            -            -            -            -            -            -            -
  36            ( - ) Class V General Unsecured Creditors (2)                                              (350)            -            -            -            -             -                   -             -            -            -            -      (350)        (700)        (350)        (350)        (350)        (350)
  37            ( - ) Minimum Operating Cash Reserve                                                       (500)            -            -            -            -             -                   -             -            -            -            -            -      (500)              -            -            -            -
  38            ( - ) Reimsursement of Post-Petition Admin Claims to Mega International                       -             -            -            -            -             -                   -             -            -            -            -         (99)         (99)            -            -            -            -
  39    Ending Operating Cash                                                                           $135          $136         $141         $141             $88          $93                 $85        $373         $374         $379       $1,721       $1,277       $1,277         $923         $613         $436         $305
  40
  41    Memo: Unpaid Consignment Fees to Escada Sourcing and Production LLC (1)                            $46           $91       $137         $182          $229         $275                $318          $364         $409         $455         $500         $546         $546       $1,166       $1,796       $2,437       $3,088
  42
  43
  44    (1) Assumes 15% of Retail and Other / Liquidation Receipts.

  45    (2) Primary source of this payment is expected from bond recovery and will is to be paid to Class 5 within 30 days of receipt, regardless of when recovered, but, under any circumstance, no later than July 31, 2023.




Escada America CF (5-2-22 Draft) v3                                                                                                                                                  1 of 1                                                                                                                                                 5/2/2022 2:51 PM
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                                 Exhibit 3
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                                                                                                                          Escada Plan Ex.3
                                                                                                                                                    May 2, 2022




                                                                             FILED CLAIM                                              SCHEDULED CLAIM                           OBJECTION                                       PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                                                  Proposed Exit                                 Proposed      Proposed        Proposed       Proposed
                                           Claim   Date Claim                                            General      Schedule "D"    Schedule        Schedule "F"                Basis of          Financing       Proposed      Proposed       Priority     Unsecured       Unsecured      Unsecured
                     Creditor               No.      Filed       Admin          Secured     Priority    Unsecured       Secured      "E" Priority      Unsecured      C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount    Amount        Amount        Payout - "A"   Payout - "B"
Internal Revenue Service                     2      1/27/22                                $79,500.00                                   $0.00                                                                                                   $79,500.00
County of Los Angeles                        9       2/9/22                                $8,537.47                                    $0.00                                                                                                   $8,537.47
California Franchise Tax Board              17      2/24/22                                 $800.00                                     $0.00                                                                                                    $800.00
California Employment Dev. Dept.                                                                                                        $0.00
WWD                                                                                                                                                       $258.00                                                                                                $258.00        $38.70         $29.32
Woodbury Common Premium Outlets                                                                                                                        $108,024.00    CUD                                                                                         $0.00           $0.00        $0.00
WASTE MANAGEMENT                                                                                                                                         $1,173.00                                                                                              $1,173.00       $175.95       $133.30
Wage Works, Inc.                                                                                                                                          $585.00                                                                                                $585.00         $87.75        $66.48
Verizon Wireless                                                                                                                                        $11,917.00                                                                                             $11,917.00      $1,787.55     $1,354.20
VERIZON                                                                                                                                                   $125.00                                                                                                $125.00         $18.75        $14.20
VECTOR SECURITY INC                                                                                                                                       $150.00                                                                                                $150.00         $22.50        $17.05
UPS SUPPLY CHAIN SOLUTIONS, INC.                                                                                                                           $25.00                                                                                                 $25.00          $3.75         $2.84
UNITED PARCEL SERVICE                                                                                                                                     $146.00                                                                                                $146.00         $21.90        $16.59
UNITED HEALTH CARE JP MORGAN                                                                                                                             $1,145.00                                                                                              $1,145.00       $171.75       $130.11
TOWN OF PALM BEACH                                                                                                                                         $55.00                                                                                                 $55.00          $8.25         $6.25
THYSSEN KRUPP ELEVATOR                                                                                                                                   $1,055.00                                                                                              $1,055.00       $158.25       $119.89
THOMSON REUTERS                                                                                                                                          $2,596.00                                                                                              $2,596.00       $389.40       $295.00
THOMPSON TAX & ASSOCIATES                                                                                                                                $2,352.00                                                                                              $2,352.00       $352.80       $267.27
THE JEWISH WEEK INC.                                                                                                                                      $648.00                                                                                                $648.00         $97.20        $73.64
The Epoch Times Association Inc.                                                                                                                          $786.00                                                                                                $786.00        $117.90        $89.32
TAX FREE SHOPPING, LTD                                                                                                                                     $85.00                                                                                                 $85.00         $12.75         $9.66
TAMI HOGAN                                                                                                                                               $1,061.00                                                                                              $1,061.00       $159.15       $120.57
Talent Staff, LLC                                                                                                                                       $3,603.00                                                                                              $3,603.00        $540.45       $409.43
T & G INDUSTRIES                                                                                                                                         $8,000.00                                                                                              $8,000.00     $1,200.00       $909.09
Syzygy Performance GmbH                                                                                                                                $145,914.00                                                                                            $145,914.00     $21,887.10    $16,581.09
St Moritz Security Services, Inc.                                                                                                                       $19,523.00                                                                                             $19,523.00      $2,928.45     $2,218.52
SPG HOUSTON HOLDINGS,LP                     4       1/28/22      $100.00                                $13,226.39                                     $274,232.00    CUD                                           $100.00                                    $13,226.39     $1,983.96      $1,502.99
SOUTHWEST SIGN COMPANY                                                                                                                                   $6,151.00                                                                                              $6,151.00       $922.65       $698.98
SOUTH COAST PLAZA                                                                                                                                       $10,064.00    CUD                                                                                         $0.00           $0.00        $0.00
SoCalGas                                                                                                                                                    $0.00                                                                                                  $0.00          $0.00         $0.00
Sirina Protection Systems                                                                                                                                 $466.00                                                                                                $466.00         $69.90        $52.95
Sing Tao Newspapers New York LLC                                                                                                                          $462.00                                                                                                $462.00         $69.30        $52.50
Simon Property Group LP                                                                                                                                 $55,572.00     CD                                                                                         $0.00           $0.00        $0.00
SHIFT 4 CORPORATION                                                                                                                                       $533.00                                                                                                $533.00         $79.95        $60.57
SHAROTTE BOUTIQUE                                                                                                                                        $1,335.00                                                                                              $1,335.00       $200.25       $151.70
SEW GOOD                                                                                                                                                  $980.00                                                                                                $980.00        $147.00       $111.36
SEN Graphics, Inc.                                                                                                                                        $556.00                                                                                                $556.00         $83.40        $63.18
Sedgwick Claims Management                                                                                                                                 $14.00                                                                                                 $14.00          $2.10         $1.59
Scottsdale Fashion Square LLC               32      3/27/22     $27,270.76                              $148,006.67                                    $116,909.00    CUD                                          $27,270.76                                 $148,006.67    $22,201.00     $16,818.89
SCM                                                                                                                                                     $5,441.00                                                                                              $5,441.00        $816.15       $618.29
SCHINDLER ELEVATOR CORPORATION                                                                                                                           $3,241.00                                                                                              $3,241.00       $486.15       $368.29
Schaefer Trans. Inc.                                                                                                                                    $17,780.00                                                                                             $17,780.00      $2,667.00     $2,020.45
SAMSON MANAGEMENT CORP.                                                                                                                               $1,343,149.00                                                                                          $1,343,149.00   $201,472.35    $152,630.11
RUSSIAN BAZAAR                                                                                                                                             $83.00                                                                                                 $83.00         $12.45         $9.43
Runway Waiters                                                                                                                                          $1,083.00                                                                                              $1,083.00        $162.45       $123.07
Reliable Products Supply                                                                                                                                  $363.00                                                                                                $363.00         $54.45        $41.25
REGENCY ENTERPRISES INC                                                                                                                                 $17,167.00                                                                                             $17,167.00      $2,575.05     $1,950.79
RAVE FABICARE INC.                                                                                                                                        $188.00                                                                                                $188.00         $28.20        $21.36
Ralph's Sewing and Vacuum                                                                                                                                 $636.00                                                                                                $636.00         $95.40        $72.27
QSCS OF NY, INC.                                                                                                                                          $945.00                                                                                                $945.00        $141.75       $107.39
Pyke Mechanical Inc.                                                                                                                                      $650.00                                                                                                $650.00         $97.50        $73.86
Premium Outlet Partners LP                  3       1/28/22     $5,328.85                               $841,749.01                                    $102,433.00                                                  $5,328.85                                 $841,749.01    $126,262.35    $95,653.01
PITNEY BOWES PURCHASE POWER                                                                                                                              $4,270.00                                                                                              $4,270.00       $640.50       $485.23
PITNEY BOWES GLOBAL                                                                                                                                       $828.00                                                                                                $828.00        $124.20        $94.09
PALM BEACH FIRE RESCUE                                                                                                                                    $121.00                                                                                                $121.00         $18.15        $13.75
PALM BEACH COUNTY                                                                                                                                         $180.00                                                                                                $180.00         $27.00        $20.45
Orkin Pest Control                                                                                                                                        $353.00                                                                                                $353.00         $52.95        $40.11
Orkin , 875- N Houston Comm                                                                                                                               $354.00                                                                                                $354.00         $53.10        $40.23
ORKIN                                                                                                                                                     $545.00                                                                                                $545.00         $81.75        $61.93
ORACLE ELEVATOR COMPANY                                                                                                                                   $700.00                                                                                                $700.00        $105.00        $79.55
OPTUS INC                                                                                                                                                 $770.00                                                                                                $770.00        $115.50        $87.50
Optimum                                                                                                                                                  $1,390.00                                                                                              $1,390.00       $208.50       $157.95
Oprandy's Fire & Safety Equipment                                                                                                                          $44.00                                                                                                 $44.00          $6.60         $5.00
Opentext                                    19       3/2/22                                              $3,164.50                                      $4,481.00                                                                                              $4,481.00        $672.15       $509.20
ONE TIME VENDOR_Customer refund_ C.ICHIK                                                                                                                  $876.00                                                                                                $876.00        $131.40        $99.55
One Image Protection INC                                                                                                                                 $1,098.00                                                                                              $1,098.00       $164.70       $124.77
OCTAVIO PARRA                                                                                                                                             $165.00                                                                                                $165.00         $24.75        $18.75
NVEnergy                                                                                                                                                  $251.00                                                                                                $251.00         $37.65        $28.52
Nestle Waters North America                                                                                                                               $275.00                                                                                                $275.00         $41.25        $31.25
Mutual Security Services, Inc                                                                                                                             $500.00                                                                                                $500.00         $75.00        $56.82
MUSE MANAGEMENT, INC                                                                                                                                    $31,690.00                                                                                             $31,690.00      $4,753.50     $3,601.13
MR HANDYMAN OF CALIFORNIA                                                                                                                                $1,035.00                                                                                              $1,035.00       $155.25       $117.61
Mood Media                                                                                                                                              $4,899.00                                                                                               $4,899.00       $734.85       $556.70




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                                                                       FILED CLAIM                                            SCHEDULED CLAIM                          OBJECTION                                       PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                                         Proposed Exit                                 Proposed      Proposed       Proposed       Proposed
                                      Claim   Date Claim                                         General      Schedule "D"    Schedule        Schedule "F"               Basis of          Financing       Proposed      Proposed       Priority     Unsecured      Unsecured      Unsecured
              Creditor                 No.      Filed       Admin         Secured    Priority   Unsecured       Secured      "E" Priority      Unsecured     C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount    Amount        Amount       Payout - "A"   Payout - "B"
Monika Arden                                                                                                                                    $2,421.00                                                                                              $2,421.00     $363.15         $275.11
Modern Luxury                                                                                                                                     $467.00                                                                                               $467.00      $70.05           $53.07
MILLENIUM SIGNS & DISPLAY, INC.                                                                                                                  $1,456.00                                                                                             $1,456.00     $218.40         $165.45
MI9 Retail - Raymark ULC                                                                                                                        $12,227.00                                                                                            $12,227.00    $1,834.05       $1,389.43
METROPOLITAN TELECOMM.                                                                                                                          $65,087.00                                                                                            $65,087.00    $9,763.05       $7,396.23
Melanie Theodoridis                                                                                                                               $212.00                                                                                               $212.00       $31.80          $24.09
Master Touch Cleaners, Inc.                                                                                                                       $990.00                                                                                               $990.00      $148.50         $112.50
Master Mechanical Services, Inc                                                                                                                   $361.00                                                                                               $361.00       $54.15          $41.02
MARY TANABE                                                                                                                                       $300.00                                                                                               $300.00       $45.00          $34.09
Mark-Alan Harmon                                                                                                                                   $70.00                                                                                                $70.00       $10.50           $7.95
Margaret's Cleaners                    23      3/16/22                                           $4,433.73                                      $2,609.00                                                                                             $2,609.00      $391.35         $296.48
Mangia 57th Inc.                                                                                                                                  $341.00                                                                                               $341.00       $51.15          $38.75
Madeline Ungar                                                                                                                                    $653.00                                                                                               $653.00       $97.95          $74.20
Lea Journo Salon                                                                                                                                  $430.00                                                                                               $430.00       $64.50          $48.86
Las Vegas North Outlets, LLC           5       1/28/22     $3,387.18                            $750,769.87                                    $266,918.00   CUD                                           $3,387.18                                 $750,769.87   $112,615.48     $85,314.50
LA MODELS                                                                                                                                         $227.00                                                                                               $227.00       $34.05          $25.80
KUCKER MARINO WINIARSKY & BITTENS,                                                                                                               $3,975.00                                                                                             $3,975.00     $596.25         $451.70
Kim Murphy                                                                                                                                        $226.00                                                                                               $226.00      $33.90          $25.68
Keter Environmental Services, Inc                                                                                                                $1,609.00                                                                                             $1,609.00     $241.35         $182.84
Joyce A. Pence                                                                                                                                    $174.00                                                                                               $174.00       $26.10          $19.77
Johnson Controls Security Solutions    36      3/29/22                                          $59,041.10                                     $55,742.00                                                                                             $55,742.00    $8,361.30      $6,334.30
JOHNSON CONTROLS FIRE PROTECTION LP    35      3/29/22                                           $569.46                                          $514.00                                                                                               $514.00       $77.10         $58.41
Jive Communications, Inc                                                                                                                        $1,404.00                                                                                              $1,404.00     $210.60         $159.54
Jana Cori Coke                                                                                                                                    $387.00                                                                                               $387.00       $58.05          $43.98
J.D Coins Inc.                                                                                                                                    $761.00                                                                                               $761.00      $114.15          $86.48
INTERNATIONAL SILKS & WOOLENS                                                                                                                     $167.00                                                                                               $167.00       $25.05          $18.98
Inter Trade Systems Inc                                                                                                                           $321.00                                                                                               $321.00       $48.15          $36.48
INGENIEURB RO RUCKPAUL &                                                                                                                          $389.00                                                                                               $389.00       $58.35          $44.20
IMPERIAL NETWORK GROUP INC                                                                                                                       $1,287.00                                                                                             $1,287.00     $193.05         $146.25
IMPERIAL COMMERCIAL CLEANING                                                                                                                      $708.00                                                                                               $708.00      $106.20          $80.45
HWS Informationssysteme GmbH                                                                                                                    $4,531.00                                                                                              $4,531.00     $679.65         $514.88
Hospitality Services, Inc                                                                                                                       $3,831.00                                                                                              $3,831.00     $574.65         $435.34
Hedy Bentel                                                                                                                                     $1,055.00                                                                                             $1,055.00      $158.25         $119.89
HAWAII MEDICAL SERVICE ASSOCIATION                                                                                                               $4,575.00                                                                                             $4,575.00     $686.25         $519.88
HAIG SERVICE CORPORATION                                                                                                                          $310.00                                                                                               $310.00       $46.50          $35.23
Green Peak Building Services, Inc                                                                                                                $2,302.00                                                                                             $2,302.00     $345.30         $261.59
GRANT MCCARTHY GROUP LLC                                                                                                                        $11,701.00                                                                                            $11,701.00    $1,755.15       $1,329.66
Granite Telecommunications                                                                                                                       $2,473.00                                                                                             $2,473.00     $370.95         $281.02
Global Facility Management & Constr                                                                                                             $25,000.00                                                                                            $25,000.00    $3,750.00       $2,840.90
General Information Solutions, LLC                                                                                                                 $22.00                                                                                                $22.00        $3.30          $2.50
Fusion Cloud Company, LLC                                                                                                                         $100.00                                                                                               $100.00       $15.00          $11.36
Funaro & co., P.C.                                                                                                                             $38,565.00     CD                                                                                         $0.00         $0.00          $0.00
Frontier Communications                                                                                                                           $820.00                                                                                               $820.00      $123.00          $93.18
Freecom Luxury Art Book, LLC                                                                                                                    $6,955.00                                                                                              $6,955.00    $1,043.25        $790.34
FRACHT FWO,INC                                                                                                                                    $615.00                                                                                               $615.00       $92.25          $69.89
FLORIDA POWER & LIGHT                  1       1/21/22                                           $2,887.17                                      $1,005.00                                                                                             $2,887.17      $433.08         $328.09
Florida Pest Control                                                                                                                              $502.00                                                                                               $502.00      $75.30           $57.05
FASHION LOGISTICS, INC.                                                                                                                         $15,867.00                                                                                            $15,867.00    $2,380.05       $1,803.06
FANDL, LLC                                                                                                                                      $1,066.00                                                                                             $1,066.00      $159.90         $121.14
Express Parking, Management, Inc.                                                                                                                 $599.00                                                                                               $599.00       $89.85          $68.07
EXPRESS FIRE PROTECTION                                                                                                                           $240.00                                                                                               $240.00       $36.00          $27.27
Elaine Cohen                                                                                                                                      $877.00                                                                                               $877.00      $131.55         $99.66
El Paseo Collection North                                                                                                                        $6,554.00   CUD                                                                                         $0.00         $0.00          $0.00
Eddie Love (Petty Cash)                                                                                                                            $60.00                                                                                                $60.00        $9.00           $6.82
Dutch Express, LLC                                                                                                                                 $25.00                                                                                                $25.00        $3.75           $2.84
Direct Construction Company Limited    18       3/2/22                                           $3,600.92                                      $1,651.00                                                                                             $3,600.92      $540.14         $409.19
Cushman and Wakefield                                                                                                                          $43,151.00     CD                                                                                      $43,151.00    $6,472.65      $4,903.51
CT CORPORATION SYSTEM                                                                                                                            $1,952.00                                                                                             $1,952.00     $292.80         $221.82
Crown Castle Fiber LLC                                                                                                                          $15,910.00                                                                                            $15,910.00    $2,386.50       $1,807.95
Country Club Cleaners                                                                                                                             $380.00                                                                                               $380.00       $57.00          $43.18
CONDE NAST PUBLICATIONS                                                                                                                         $23,300.00                                                                                            $23,300.00    $3,495.00       $2,647.72
Concur Technologies Inc                                                                                                                          $2,430.00                                                                                             $2,430.00     $364.50         $276.14
Computop, Inc.                                                                                                                                  $1,411.00                                                                                              $1,411.00     $211.65         $160.34
Computop GmbH                                                                                                                                      $21.00                                                                                                $21.00        $3.15           $2.39
ComplyRight, Inc. dba HR Direct                                                                                                                   $617.00                                                                                               $617.00       $92.55          $70.11
COMMONWEALTH EDISON                                                                                                                              $1,776.00                                                                                             $1,776.00     $266.40         $201.82
Comcast Business                                                                                                                                  $110.00                                                                                               $110.00       $16.50          $12.50
Comcast Business                                                                                                                                  $125.00                                                                                               $125.00       $18.75          $14.20
CMS MECHANICAL SERVICE CO.                                                                                                                       $1,414.00                                                                                             $1,414.00     $212.10         $160.68
CLEANER'S SUPPLYS INC                                                                                                                              $81.00                                                                                                $81.00       $12.15           $9.20
CITY OF WEST PALM BEACH                                                                                                                           $388.00                                                                                               $388.00       $58.20          $44.09
City of Beverly Hills                                                                                                                             $275.00                                                                                               $275.00       $41.25          $31.25
CITY EXPEDITOR, INC.                                                                                                                              $755.00                                                                                               $755.00      $113.25          $85.80




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                                                                             FILED CLAIM                                                 SCHEDULED CLAIM                           OBJECTION                                        PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                                                     Proposed Exit                                      Proposed      Proposed          Proposed         Proposed
                                           Claim   Date Claim                                             General        Schedule "D"    Schedule        Schedule "F"                Basis of          Financing       Proposed      Proposed            Priority     Unsecured         Unsecured        Unsecured
                    Creditor                No.      Filed       Admin          Secured      Priority    Unsecured         Secured      "E" Priority      Unsecured      C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount         Amount        Amount          Payout - "A"     Payout - "B"
CIT                                                                                                                                                        $14,896.00                                                                                                  $14,896.00       $2,234.40        $1,692.72
Cision US, I                                                                                                                                               $6,694.00                                                                                                    $6,694.00        $1,004.10         $760.68
Cisco Systems Capital Corporation                                                                                                                          $31,960.00                                                                                                  $31,960.00       $4,794.00         $3,631.81
Chicago Oak Street Partners, LLC            20      3/12/22                                              $837,026.18                                      $554,764.00    CUD                                                                                          $837,026.18      $125,553.93      $95,116.33
CHETRIT 1412 LLC                            16      2/21/22                                              $250,000.00                                      $250,000.00    CU                                                                                           $250,000.00      $37,500.00       $28,409.01
CenturyLink                                 8       2/3/22                                                 $700.25                                           $689.00                                                                                                     $700.25          $105.04          $79.57
Carlton Technologies, Inc                                                                                                                                    $269.00                                                                                                     $269.00           $40.35           $30.57
BUREAU OF ELEVATOR SAFETY                                                                                                                                    $274.00                                                                                                     $274.00           $41.10           $31.14
Borden Ladner Gervais, LLP                                                                                                                                  $1,480.00                                                                                                   $1,480.00         $222.00          $168.18
BOGUSLAW SANKOWSKI                                                                                                                                           $941.00                                                                                                     $941.00          $141.15          $106.93
Blue Print AG                                                                                                                                                $598.00                                                                                                     $598.00           $89.70           $67.95
Bal Harbour Shops LLLP                                                                                                                                     $81,623.00    CUD                                                                                              $0.00            $0.00            $0.00
AVALARA INC                                                                                                                                                $4,649.00                                                                                                    $4,649.00         $697.35          $528.29
Atlantic Broadband                                                                                                                                            $78.00                                                                                                      $78.00           $11.70            $8.86
Atlantic Broadband                                                                                                                                           $733.00                                                                                                     $733.00          $109.95           $83.30
ASA Cleaning Services Corp                                                                                                                                 $22,255.00                                                                                                  $22,255.00       $3,338.25        $2,528.97
Archive Systems, Inc.                                                                                                                                      $11,515.00                                                                                                  $11,515.00        $1,727.25        $1,308.52
Angel Tailor                                                                                                                                                 $152.00                                                                                                     $152.00          $22.80           $17.27
AMERICAN EXPRESS                            13                                                           $21,674.03                                       $59,401.00      D                                                                                           $21,674.03        $3,251.10        $2,462.95
American Commercial Equities Three,                                                                                                                        $29,341.00    CUD                                                                                              $0.00            $0.00            $0.00
Amanda Huang                                                                                                                                                 $55.00                                                                                                       $55.00           $8.25            $6.25
ALPINE BUSINESS SYSTEMS                                                                                                                                    $10,988.00                                                                                                  $10,988.00        $1,648.20        $1,248.63
Alliant Insurance Services, Inc.                                                                                                                          $348,375.00                                                                                                 $348,375.00       $52,256.25       $39,587.95
Alliance Pro Services LLC                                                                                                                                    $278.00                                                                                                     $278.00          $41.70            $31.59
ALA MOANA CENTER ASSOCIATION                                                                                                                                $1,198.00    CUD                                                                                              $0.00            $0.00            $0.00
Ala Moana Anchor Acquisition, LLC           14      2/18/22     $7,220.63                               $1,382,622.26                                     $264,681.00    CUD                                           $7,220.63                                     $1,382,622.26     $207,393.34      $157,115.69
ABALON EXTERMINATING CO. INC.                                                                                                                                $450.00                                                                                                     $450.00           $67.50           $51.14
[Beverly Hills Wilshire Hotel]              15      2/18/22                                             $2,441,373.90                                    $2,546,815.33   CUD                                                                                         $2,441,373.90     $366,206.09      $277,428.02
717 GFC LLC                                 24      3/23/22                                              $5,108,857.92                                   $5,055,143.00   CUD                                                                                           $5,108,857.92   $766,328.69      $580,550.29
693 Fifth Owner LLC                                                                                                                                         $1,641.00    CUD                                                                                              $0.00            $0.00            $0.00
Harris County Water Control                 6       1/31/22                     $1,546.80                                                                                                                                               $1,546.80                                          $0.00            $0.00
Harris County Municipal Utility District    7       1/31/22                     $8,204.13                                                                                                                                               $8,204.13                                          $0.00            $0.00
The Retail Property Trust                   10      3/10/22                                                $440,000.00                                                                                                                                                   $440,000.00   $66,000.00       $49,999.85
Sawgrass Mills Phase IV LLC                 11      2/10/22     $4,205.33                                  $543,937.97                                                                                                 $4,205.33                                         $543,937.97   $81,590.70       $61,810.95
Premium Outlet Partners LP                  12      2/10/22     $5,326.37                                  $417,439.45                                                                                                 $5,326.37                                         $417,439.45   $62,615.92       $47,436.16
MI9 Retail − Raymark ULC                   21A      3/15/22                                                   $266.61                                                                                                                                                        $266.61      $39.99           $30.30
Fedex Corporate Services, Inc               22      3/16/22                                                  $2,677.50                                                                                                                                                     $2,677.50      $401.63          $304.26
Great Northern Insurance                    25      3/24/22                                                $211,141.65                                                                                                                                                   $211,141.65   $31,671.25       $23,993.30
Chubb Insurance Company                     26      3/24/22                                                $20,576.73                                                                                                                                                    $20,576.73     $3,086.51        $2,338.26
Vigilant Insurance Company                  27      3/24/22                                                $67,260.00                                                                                                                                                    $67,260.00    $10,089.00        $7,643.16
Federal Insurance Company                   28      3/24/22                                                 $1,788.23                                                                                                                                                     $1,788.23       $268.23          $203.21
Stephanie Buono                             29      3/24/22                                                 $40,411.80                                       $0.00       CUD                                                                                              $40,411.80    $6,061.77        $4,592.24
the Neiman Marcus Group                     30      3/24/22                     $84,533.42                $230,085.72                                                                                                                                                   $230,085.72    $34,512.86       $26,146.03
Manhattan Telecommunications                31      3/25/22                                                 $86,806.03                                                                                                                                                    $86,806.03
Corporation/MetTel                                                                                                                                                                                                                                                                     $13,020.90        $9,864.29
United Parcel Service                       33      3/28/22                                               $235,709.96                                                                                                                                                   $235,709.96    $35,356.49       $26,785.14
Suzanne Humbert                             37      3/29/22                                               $300,960.00                                        $0.00       CUD                                                                                            $300,960.00    $45,144.00       $34,199.90
Rebecca Castillo                                                                                                                                             $0.00       CUD                                                                                       $0.00                  $0.00            $0.00
NYC Department of Finance                                                                                                               $349,209.25       $68,819.41      C                                                                            $349,209.25    $68,819.41       $10,322.91        $7,820.36
Ann Marie Di Ionna                                                                                                                                        $99,915.19                                                                                                  $99,915.19       $14,987.28       $11,353.96
Escada Shared Services Ltd.                                                                                                                               $32,000.00                                                                                               $0.00                  $0.00            $0.00
Dunnwright Services Inc.                                                                                                                                     $0.00                                                                                                 $0.00                  $0.00            $0.00
Site Crew Inc.                                                                                                                                               $0.00                                                                                                 $0.00                  $0.00            $0.00
Worth-Pondfield LLC                        34A      3/28/22     $43,666.35                              $1,462,737.72                                    $1,343,149.00   CUD                                          $43,666.35                                     $1,462,737.72     $219,410.66      $166,219.70
IDK Cooling Corp.                           38      4/14/22                                               $2,041.41                                                                    Late                                                                              $0.00            $0.00            $0.00

TOTAL                                                                                                   $15,933,544.14                                  $13,818,133.93                                                $471,505.47    $21,815,446.71    $438,046.72 $18,480,055.54      $2,772,008.33    $2,100,000.00
                                                                                                                                                                                                                                                                                        15% recover    11.36% recovery




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                                            EXHIBIT 4


       The Settlement Agreement between the Debtor and its estate, on the one hand, and Escada
Sourcing and Production LLC (“ESP”) on the other hand is under discussion and subject to final
documentation. The key terms of the Settlement Agreement are set forth in the Plan, and include:


        On the Effective Date, Escada Sourcing and Production LLC (“Exit Financier”) will
contribute exit financing in the amount of $150,000 subject to the terms of the Settlement
Agreement. The Settlement Agreement shall provide, in part, that the Exit Financier will (i)
provide a five-year, zero-interest, $150,000 loan to the Debtor, (ii) agree to subordinate its claim
for post-petition priority consignment fees, (iii) subordinate its claims under Classes 3 and 4 to
those of Class 5 to the extent provided for in the Debtor’s Plan and (iv) vote in favor of the Debtor’s
Plan, in return for which the Debtor and the Estate shall irrevocably grant the Exit Financier a
complete release of claims, including, without limitation, for any preference or fraudulent transfers
or avoidance action claims.
        If the Bankruptcy Court orders the Bankruptcy Case converted to chapter 7 after the Plan
is confirmed, then all property that had been property of the Debtor’s chapter 11 estate that has not
been disbursed pursuant to the Plan will revest in the chapter 7 estate, and the automatic stay will
be reimposed upon the revested property, but only to the extent that relief from stay was not
previously authorized by the Bankruptcy Court during the Bankruptcy Case, and, the Bond Lien
shall remain in place, and the Settlement shall remain in place.
       The foregoing is without prejudice to revision during ongoing settlement discussions.
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                                             EXHIBIT 5


        The following pages annexed to this Exhibit 5 are from the Debtor’s Statement of Financial
Affairs ## 3 and 4 listing potential preference actions held by the Debtor’s estate.
       Because the lien of Escada Sourcing and Producing LLC (“ESP”) was filed within the one-
year period prior to the Petition Date, there is a potential preference lien avoidance action against
ESP. However, the Debtor is informed and believes that ESP has valid defenses to portions of its
claim for ordinary course, new value, and/or contemporaneous exchange of value for certain
portions of its claim and lien.
          The Debtor does not believe that the estate has any actual or fraudulent transfer avoidance
claims.
       The Debtor may have claims against Lexon Surety related to a prepetition bond, which is
under investigation.
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                                 Exhibit 6
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                                           Exhibit 6



 Landlord or                 Real Property                  Assume or          Cure
 Counterparty                Address (if Lease)             Reject             Amount

 Worth‐Pondfield LLC c/o     222 Worth Avenue,
 Eastgold Holdings LLC       Palm Beach, Florida            TBD                TBD

                             693 Fifth Avenue 6th Floor,
 693 Fifth Owner LLC         New York, NY                   TBD                TBD

 Scottsdale Fashion          6900 E Camelback Rd,
 Square LLC                  Scottsdale, AZ 85251           TBD                TBD

 Escada Sourcing and         N/A (Consignment
 Production LLC              Agreement)                     TBD                TBD


The Debtor uses the “Escada” brand subject to a licensing agreement, which the Debtor believes
is not an executory contract. If the Debtor’s Plan is confirmed, then the Reorganized Debtor will
continue to use the Escada brand.
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  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled DEBTOR’S CHAPTER 11, SUBCHAPTER V
  4   PLAN OF REORGANIZATION, DATED MAY 2, 2022 will be served or was served (a) on the judge in
      chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On May 2, 2022, I checked the CM/ECF docket for this bankruptcy case or
  7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
                                                                              Service information continued on attached page
  9
      2. SERVED BY UNITED STATES MAIL: On May 2, 2022, I served the following persons and/or entities
 10   at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
      correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 11   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 12       Service information continued on attached page
 13   The Honorable Sheri Bluebond
      United States Bankruptcy Court
 14   Central District of California
      Edward R. Roybal Federal Building and Courthouse
 15   255 E. Temple Street, Suite 1534 / Courtroom 1539
      Los Angeles, CA 90012
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 17   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on May 2, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19   mail to, the judge will be completed no later than 24 hours after the document is filed.

 20                                                                           Service information continued on attached page

 21   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 22
       May 2, 2022                   Jason Klassi                                        /s/ Jason Klassi
 23    Date                                 Type Name                                    Signature

 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1
      2:22-bk-10266-BB Notice will be electronically mailed to:
  2
      Dustin P Branch on behalf of Creditor The Macerich Company
  3   branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com

  4   John C Cannizzaro on behalf of Creditor 717 GFC LLC
      john.cannizzaro@icemiller.com, julia.yankula@icemiller.com
  5
      Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
  6   mdarlow@pbfcm.com, tpope@pbfcm.com

  7   Caroline Djang on behalf of Interested Party Caroline R. Djang
      caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com
  8
      Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
  9   eryk.r.escobar@usdoj.gov

 10   John-Patrick M Fritz on behalf of Debtor Escada America, LLC
      jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 11
      William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
 12   whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

 13   William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
      whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
 14
      Gregory Kent Jones (TR)
 15   gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com

 16   Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
      mkogan@koganlawfirm.com
 17
      Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
 18   ggpbk@ggp.com

 19   Lindsey L Smith on behalf of Debtor Escada America, LLC
      lls@lnbyg.com, lls@ecf.inforuptcy.com
 20
      Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
 21   rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com

 22   United States Trustee (LA)
      ustpregion16.la.ecf@usdoj.gov
 23
 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
